Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 1 of 67 PageID:
                                    772


                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  MAHMOUD KHALIL,
                                            No. 25-cv-01963 (MEF)(MAH)
              Petitioner,
                                                 OPINION and ORDER
        v.

  WILLIAM P. JOYCE, et al.,


              Respondents.


                             Table of Contents
 I.     Background
        A. The Facts
        B. Procedural History
        C. The Motion
        D. The Court’s Approach
 II.    Legal Principles
 III.   Law of the Case
        A. General Principles
        B. “The Same Issue”
        C. Implicitly “The Same Issue”
        D. Discretion
        E. Conclusion
 IV.    What Supplies Jurisdiction
        A. The Respondent’s Argument
        B. Section 1631
             1.   The Court Can Look to Section 1631
             2.   Section 1631 Applies to Habeas Petitions
             3.   Section 1631 Applies Here
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 2 of 67 PageID:
                                    773


             4.   Section 1631 Covers Personal Jurisdiction
             5.   What Section 1631 Means Here
                  a)   Miller
                  b)   Martinez-Nieto
                  c)   Other Cases
 V.      Section 1631 and Two Further Issues
 VI.     The Endo Rule
         A. Background
         B. Consensus Understanding
 VII.    The Immediate Custodian Rule
         A. The Louisiana Warden
         B. The New Jersey Warden
             1.   Facts
             2.   The Unknown Custodian Exception
             3.   Applying the Unknown Custodian Exception
                  a)   ”If Known”
                  b)   The District of Confinement Rule
                  c)   Conclusion
 VIII. Conclusion and Next Steps

                                *    *      *
 A lawful permanent resident was detained, and filed a habeas
 corpus petition seeking his release.
 The respondents, various federal officials, have moved to
 dismiss, arguing the Court does not have jurisdiction.
 The motion is denied.

                                *    *      *

 I.     Background

        A.   The Facts

 The relevant facts for now are as follows.




                                     2
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 3 of 67 PageID:
                                    774


 A lawful permanent resident 1 was arrested by federal officials in
 Manhattan. See Declaration of Amy E. Greer (“Greer
 Declaration”) (ECF 11-1) ¶¶ 4-5; Second Supplemental Declaration
 of Acting Field Office Director William P. Joyce (“Joyce
 Declaration”) (ECF 72) ¶¶ 6-7.
 While in custody, he was handed various forms. See Declaration
 of Mahmoud Khalil (“Khalil Declaration”) (ECF 73-1) ¶¶ 4-6;
 Joyce Declaration ¶ 7.
 These said two main things. First, that federal officials were
 seeking to remove him from the United States. See Joyce
 Declaration ¶ 7. And second, that as part of that process, he
 would be required to appear before an immigration judge in
 Louisiana in about two weeks. See Khalil Declaration ¶ 5. 2
 About seven hours after his arrest, see Greer Declaration ¶ 6,
 Joyce Declaration ¶ 7, the lawful permanent resident’s lawyer
 electronically filed a habeas corpus petition on his behalf in
 federal court in Manhattan. 3 See Greer Declaration ¶ 9.
                               *     *      *
 From here, the lawful permanent resident is called “the
 Petitioner,” and his habeas petition (ECF 38, as amended) is
 “the Petition.” The Petition names various federal officials. 4
 From here, they are collectively called “the Respondents.”


 1  Mahmoud Khalil. A lawful permanent resident is a person who
 has “been lawfully accorded the privilege of residing
 permanently in the United States as an immigrant in accordance
 with the immigration laws[.]” 8 U.S.C. § 1101(a)(20).
 2  Removing a lawful permanent resident from the United States
 generally requires a removal hearing. See 8 U.S.C. § 1229a.
 Those typically go forward before an immigration judge. See 8
 U.S.C. § 1229a(a)(1); 8 C.F.R. § 1240.10(a).
 3  Under the relevant part of the habeas corpus statute, of which
 more below, a federal judge may direct a person’s custodian to
 release him from custody if he is being held in violation of
 federal law. See Rumsfeld v. Padilla, 542 U.S. 426, 434-35
 (2004); Coleman v. Tennessee, 97 U.S. 509, 534-35 (1878); 28
 U.S.C. § 2241(c); see also 28 U.S.C. § 2243.
 4  The Respondents are listed in the Petition as: President of
 the United States Donald Trump; Acting Field Office Director of
                                     3
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 4 of 67 PageID:
                                    775


                               *     *      *
 About one hour before the Petition was filed on his behalf, the
 Petitioner was moved to another detention facility. See Khalil
 Declaration ¶ 8; Joyce Declaration ¶ 16. As a result, when the
 filing was made, the Petitioner was no longer in New York. See
 Khalil Declaration ¶ 7; Joyce Declaration ¶ 17. He was in New
 Jersey. See Khalil Declaration ¶¶ 8, 22; Joyce Declaration
 ¶ 17.
 The Petitioner spent around eight hours in New Jersey. 5 See
 Khalil Declaration ¶¶ 7-8, 22; Joyce Declaration ¶¶ 16, 18.
 From New Jersey, he was taken to Louisiana, where he remains
 today. 6 See Greer Declaration ¶ 14; Khalil Declaration ¶¶ 24-26;
 Joyce Declaration ¶¶ 18-19. 7

       B.   Procedural History

 In the Manhattan federal court, where the Petition had been
 filed, the Respondents moved to dismiss the case. See
 Respondents’ Memorandum of Law in Support of their Motion to
 Dismiss or Transfer the Case (ECF 31) at 1.
 They argued the New York court did not have jurisdiction to hear
 it. The Respondents’ core argument: habeas cases must generally


 New York, Immigration and Customs Enforcement, William P. Joyce;
 Acting Director of Immigration and Customs Enforcement Caleb
 Vitello; Secretary of the United States Department of Homeland
 Security Kristi Noem; Secretary of the United States Department
 of State Marco Rubio; and Attorney General of the United States
 Pamela Bondi.
 5  The timeline reflects that at 2:00am on March 9, the clocks
 moved forward to 3:00am for daylight saving time.
 6  Recall: Louisiana was where the Petitioner was due to appear
 before an immigration judge.
 7  As to more precise dates and times, the Petitioner was
 arrested in Manhattan at around 8:35pm on March 8, 2025. See
 Greer Declaration ¶ 6; Joyce Declaration ¶ 7. On March 9, he
 arrived in New Jersey at 3:20am, see Joyce Decl. ¶ 16; the
 habeas petition was filed on his behalf at 4:40am, see Greer
 Declaration ¶ 9; and he was taken from New Jersey sometime
 around 11:30am or noon, bound for Louisiana. See Joyce
 Declaration ¶ 18; Khalil Declaration ¶ 22.
                                     4
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 5 of 67 PageID:
                                    776


 be filed only in the judicial district where the person in
 question is being held, see id. at 3-4 --- and the Petitioner
 was not in New York when the Petition was filed there. See id.
 at 3. At that point, he was in New Jersey. See id.
 In light of this, the Respondents argued, the New York court
 should either: (a) dismiss the case without prejudice (which
 would allow the Petitioner to refile it in the right district)
 or (b) transfer the case to the federal court in the Western
 District of Louisiana, where the Petitioner was (and is)
 confined. See id. at 9-11.
 The Petitioner made various counterarguments, see generally
 Plaintiff[’s] Memorandum of Law in Opposition to Defendants’
 Motion to Dismiss or Transfer (ECF 50) (“New York Opposition
 Brief”), and the New York court issued two main rulings.
 First, the court held that it did not have power to take up the
 case. That was “plainly” the correct outcome under the “normal”
 rules for habeas cases, the court determined --- because the
 Petitioner was no longer in Manhattan when his habeas corpus
 petition was filed there. Khalil v. Joyce, 2025 WL 849803, at
 *7 (S.D.N.Y. Mar. 19, 2025).
 And second, the court turned to deciding between (a) dismissing
 the case and (b) transferring it. See id. at *11. The court
 chose transfer, in particular to New Jersey. See id.
 Why New Jersey? Because certain statutes tell federal courts
 where to transfer cases that ae improperly before them. One of
 those statutes directs a federal court to transfer such a case
 to where it “could” have been filed. Id. at *12 (quoting 28
 U.S.C. § 1406(a)).
 And at the moment the Petition was filed, there was only one
 such place --- New Jersey, where the Petitioner was being held.
 See id. at *13.

       C.   The Motion

 The Respondents have now moved to dismiss this case on the
 argument that this Court lacks jurisdiction over it. See
 Respondents’ Brief in Support of Their Renewed Motion to Dismiss
 or to Transfer the Case (ECF 90) (“Motion to Dismiss”).
 The motion has been fully briefed, and oral argument on it was
 heard.

                                     5
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 6 of 67 PageID:
                                    777


 The motion is before the Court.

       D.   The Court’s Approach

 After a brief discussion of relevant general principles, see
 Part II, the Court takes up the Petitioner’s first argument:
 that the Respondents’ motion must be denied in light of the New
 York court’s transfer of the case here.
 This argument, the Court concludes, is not persuasive. The New
 York court decided that it did not have jurisdiction. It did
 not pass on whether this Court has jurisdiction. The question
 is therefore an open one. See Part III.
 The Court then directly considers whether it has jurisdiction.
 The Court’s conclusion: it does.
 Under habeas law, jurisdiction in a particular district is
 established when a petitioner is physically present in the
 district at the same moment a petition is filed there on his
 behalf. See Part II.
 That confluence happened here. The Petitioner was in custody in
 New Jersey as of March 9 at 4:40am. And under a federal
 statute, the Petition, though filed in New York, must be treated
 as having been filed in New Jersey on March 9 at 4:40am.
 Therefore, this Court has jurisdiction. See Part IV.
 The Court then asks whether the jurisdiction it obtained on
 March 9 is now lost, because the Petitioner was moved to
 Louisiana.
 The Court’s jurisdiction, it concludes, has not been lost.              The
 Supreme Court has all but so held. See Part VI.
 Finally, the Court asks whether the jurisdiction it obtained on
 March 9 is undone because the Petition did not name a Louisiana
 warden (in whose custody the Petitioner now is) or a New Jersey
 warden (in whose custody the Petitioner was before being moved
 to Louisiana).
 These omissions do not defeat jurisdiction, the Court holds. As
 to the Louisiana warden, this is because of the effect of an on-
 point Supreme Court case. See Part VII.A. And as to the New
 Jersey warden, this is because there was no way for the
 Petitioner’s lawyer to know he was in New Jersey when she filed
 the Petition on his behalf. See Part VII.B.


                                     6
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 7 of 67 PageID:
                                    778


 II.   Legal Principles

 This Opinion and Order generally lays out the law on a given
 topic as it becomes relevant.
 But two legal principles come up frequently, so they are briefly
 sketched out here, along with some of their connections to the
 case.
 The first: a habeas corpus petition must generally be filed in
 the judicial district where the habeas petitioner is physically
 in custody. See Rumsfeld v. Padilla, 542 U.S. 426, 435 (2004);
 United States v. Hayman, 342 U.S. 205, 213 (1952); Ahrens v.
 Clark, 335 U.S. 188, 190 (1948). 8
 Recall that the Petitioner was in custody in New Jersey at the
 moment when his Petition was filed, and he is now in custody in
 Louisiana. See Part I.A.
 The second legal principle: a habeas corpus petition, like this
 one, that challenges custody imposed by Immigration and Customs
 Enforcement --- a federal agency referred to from here as “ICE”
 --- must generally name as the respondent the warden of the
 detention facility where the person is held. See Anariba v.
 Dir. Hudson Cnty. Corr. Ctr., 17 F.4th 434, 444 (3d Cir. 2021).
 The Petitioner here did not name the warden of the New Jersey
 facility, though he now seeks permission to do so. See
 Petitioner’s Memorandum of Law in Opposition to Respondents’
 Renewed Motion to Dismiss or Transfer & in Support of His Cross-
 Motion for Re-Transfer (ECF 107) (“Opposition Brief”) at n.1;
 see also Petitioner’s Supplemental Memorandum of Law in Further
 Support of His Motion to Compel Respondents to Return Him to

 8  There are exceptions to this rule. For example, the rule does
 not apply to a challenge to something other than here-and-now
 physical custody --- as when a person challenges a “detainer,”
 on the argument it will lead to his or her future confinement.
 See Padilla, 542 U.S. at 438 (citing Braden v. 30th Jud. Cir.
 Ct. of Ky., 410 U.S. 484 (1973)). And things work differently
 when a person is detained outside the United States. See, e.g.,
 Ex parte Hayes, 414 U.S. 1327, 1328–29 (1973) (Douglas, J., in
 chambers). The exceptions alluded to in this footnote are
 irrelevant here. This is because habeas challenges to “present
 physical confinement” within the United States, as in this case,
 must be brought in the judicial district where the person in
 question is confined. See Padilla, 542 U.S. at 435.
                                     7
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 8 of 67 PageID:
                                    779


 This District (ECF 96) at n.1. And the Petitioner here did not
 name the warden of the Louisiana facility, but he has not asked
 to do that.
 With the key legal principles in mind, move on now to consider
 this case.

 III. Law of the Case

 The Petitioner’s first argument is that the Respondents’ motion
 to dismiss must be denied without considering whether it is
 persuasive. See Opposition Brief at 7-8.
 The New York court, the argument goes, has already ruled on the
 relevant issue --- and this Court must stick with that ruling
 under the “law of the case” doctrine. See id. at 7-12.
 But this argument does not work.
 First, its premise is inaccurate. The New York court did not
 rule on the issue that this Court now needs to take on. See
 Part III.B and Part III.C. Therefore, the law-of-the-case
 doctrine is not on the table.
 And second, even if the doctrine might have a role, the Court
 would not opt to apply it here. See Part III.D.
 Take these points up in a moment, after a quick look at some
 general legal principles. See Part III.A.

       A.   General Principles

 The starting point here is one of the law’s recurring questions:
 how should one court weigh an earlier judicial decision?
 Different bodies of legal rules, each tailored to a different
 circumstance, supply answers. Stare decisis is an example; res
 judicata is another. 9




 9  Stare decisis is “[t]he doctrine of precedent, under which a
 court must follow earlier judicial decisions when the same
 points arise again in litigation.” Stare Decisis, Black’s Law
 Dictionary (12th ed. 2024). Res judicata is “[a]n affirmative
 defense barring the same parties from litigating a second
 lawsuit on the same claim, or any other claim arising from the
 same transaction or series of transactions and that could have
                                     8
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 9 of 67 PageID:
                                    780


 One of these bodies of rules is the “law of the case” doctrine. 10
 Under the doctrine, “when a court decides upon a rule of law,
 that decision should continue to govern the same issues in
 subsequent stages in the same case.” Arizona v. California, 460
 U.S. 605, 618 (1983).
 The law-of-the-case doctrine may apply when, as here, a litigant
 asks a federal court in one district to defer in some way to a
 ruling a federal court in another district already made in the
 case. See, e.g., Hayman Cash Reg. Co. v. Sarokin, 669 F.2d 162,
 168-69 (3d Cir. 1982); see generally Christianson v. Colt Indus.
 Operating Corp., 486 U.S. 800, 816-17 (1988) (discussing law-of-
 the-case doctrine as between “coordinate courts”).
 But the doctrine kicks in only when the two courts have resolved
 “the same issue.” Fagan v. City of Vineland, 22 F.3d 1283, 1290
 (3d Cir. 1994); accord, e.g., Arizona, 460 U.S. at 618;
 Musacchio v. United States, 577 U.S. 237, 244-45 (2016); Pepper
 v. United States, 562 U.S. 476, 506 (2011); 18 James Wm. Moore
 et al., Moore’s Federal Practice § 134.20 (2025).
 This means that “the doctrine does not apply when the first
 judge never decided the precise issue before the second judge.”
 Chi. Joe’s Tea Room, LLC v. Vill. of Broadview, 894 F.3d 807,
 818 (7th Cir. 2018).
 When the doctrine is in play, it is discretionary. See United
 States v. U.S. Smelting Refin. & Mining Co., 339 U.S. 186, 199
 (1950); see generally In re Celgene Corp., Inc. Sec. Litig., 747
 F. Supp. 3d 748, 761 (D.N.J. 2024) (laying out some of the
 history of this approach).
 This means that a court generally has a choice. Cf. Zervos v.
 Verizon N.Y., Inc., 252 F.3d 163, 169 n.6 (2d Cir. 2001). It
 can opt to go with the earlier decision. Or it can reflect on
 the previous decision, and, if necessary, take things in a



 been --- but was not --- raised in the first suit.” Res
 Judicata, sense 2, Black’s Law Dictionary (12th ed. 2024).
 10 For the relationship of law of the case to stare decisis,
 see, for example, Loumar, Inc. v. Smith, 698 F.2d 759, 762 (5th
 Cir. 1983). And for the link between law of the case and res
 judicata, see, for example, Southern Railway Co. v. Clift, 260
 U.S. 316, 319 (1922).
                                     9
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 10 of 67 PageID:
                                    781


 different direction --- informed by the prior decision, but not
 entirely hemmed in by it.

       B.    “The Same Issue”

 Come back now to this case.
 The Petitioner’s argument is that under the law-of-the-case
 doctrine, the New York court’s decision requires this Court to
 deny the Respondents’ current motion to dismiss for lack of
 jurisdiction. See Opposition Brief at 12.
 But this argument is not persuasive.
 The reason why: the issue that was resolved by the New York
 court is not “the same,” Fagan, 22 F.3d at 1290, as the issue on
 the now-pending motion to dismiss --- and so the law-of-the-case
 doctrine is not part of the mix.
                                *    *      *
 To see the point, start by zeroing in on what the New York court
 did, and then look to the question now before this Court.
 At its core, the New York court held that it did not have
 jurisdiction over this case, see Khalil, 2025 WL 849803, at *2,
 and that it would transfer the matter to New Jersey. See id.
 Why New Jersey? The New York court looked mainly to a 1948 law
 that covers court-to-court transfers, 28 U.S.C. § 1406(a). See
 id. at *12-14. Under Section 1406(a), a federal court with a
 case that has been filed in the wrong place has two choices. It
 can dismiss the case (which the New York court decided against,
 see id. at *12) or transfer it “to any district . . . in which
 [the case] could have been brought” (which the New York court
 decided to do, see id. at *11 (quoting 28 U.S.C. § 1406(a)).
 Per the New York court, Section 1406(a) pointed to New Jersey.
 At the moment his habeas petition was filed, the Petitioner was
 in custody here. Id. at *12. And as noted, a habeas petition
 can be filed only in the district where a person is detained.
 See id. at *1 (citing Padilla, 542 U.S. at 449).
 Therefore, the New York court concluded, the case “could have
 been brought” in New Jersey and would be transferred here. See
 id. at *12 (quoting 28 U.S.C. § 1406(a)) (emphasis added).
 Now compare all of that to “the . . . issue,” Fagan, 22 F.3d at
 1290, before the Court now.

                                     10
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 11 of 67 PageID:
                                    782


 That issue is the one put by the Respondents in their motion to
 dismiss: does this Court, in New Jersey, have jurisdiction over
 this case? See Motion to Dismiss at 1. 11
 Did the New York court make that determination, about this
 Court’s jurisdiction?
 The Petitioner seems to say yes. For example, the Petitioner
 takes the Respondents to task for arguing that “this Court . . .
 must re-evaluate its own jurisdiction . . . because [the New
 York court] got that question wrong.” Opposition Brief at 10
 (cleaned up).
 But “wrong” or right --- the premise of this argument is that
 the New York court assessed this Court’s jurisdiction.




 11 Note that working through the Respondents’ motion does not
 threaten what the Petitioner invokes --- “a perpetual game of
 jurisdictional ping-pong until one of the parties surrenders to
 futility.” Opposition Brief at 12 (cleaned up). Look to the
 cases the Petitioner cites as the basis for his concern. In
 Hayman Cash Register Co. v. Sarokin, 669 F.2d 162 (3d Cir.
 1982), a Washington, DC, federal court transferred a case to New
 Jersey --- only to have the case transferred back to DC by the
 New Jersey court. See id. at 163-64. That back-and-forth took
 two years, see id., and the court of appeals put an end to it.
 The other main case cited by the Petitioner is Christianson v.
 Colt Industries Operating Corp., 486 U.S. 800 (1988). There,
 the Federal Circuit transferred a case to the Seventh Circuit,
 which then transferred it back. See id. at 806-07. This, too,
 took two years, see id. at 804, and the Supreme Court cut things
 off based, in part, on law-of-the-case grounds. But Hayman and
 Christianson are a long way off from this case. There is no
 danger here of “perpetual . . . ping-pong,” Christianson, 486
 U.S. at 818, played until someone folds. The New York court
 transferred this case to New Jersey. But no one wants the case
 to now be sent back to New York. (In purely nominal fashion,
 solely to preserve the issue for appeal, the Petitioner asks for
 a return to New York. See Opposition Brief at 30-31. But put
 that aside as irrelevant for now. There is no real ask from
 either party to go back to New York.)

                                     11
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 12 of 67 PageID:
                                    783


 But subject to an exception taken up below in footnote 14, there
 is nothing explicit along those lines in the New York court’s
 decision. 12
 For example, the critical argument from the Respondents in New
 York was that habeas jurisdiction never vested in New Jersey,
 because the Petitioner did not file a Petition here. See
 Respondents’ Memorandum of Law in Support of Their Motion to
 Dismiss or to Transfer the Case (ECF 31) at 10. And, the
 Respondents argued, the federal transfer statutes cannot fill
 the gap because they “do not independently vest courts with
 jurisdiction.” See Respondents’ Reply Memorandum of Law in
 Further Support of Their Motion to Dismiss or to Transfer the
 Case (ECF 71) at 14.
 But these questions were not addressed in the New York court’s
 opinion. There was no discussion, for example, as to whether
 one court can potentially take habeas jurisdiction on a
 derivative basis --- based on an earlier filing in another
 court. And there was no discussion as to whether there is a
 federal statute that vests the jurisdiction the Respondents said
 was missing.
 These are not gaps in the New York court’s analysis. They are,
 rather, indications of what the analysis was about. The New
 York court opined as to its own jurisdiction. See Khalil, 2025
 WL 849803, at *5-*11. But it did not purport to rule as to this
 Court’s jurisdiction --- which raises substantial (and distinct)
 issues of its own, covered here. See Part IV to Part VII.
                                *    *      *
 Moreover, there are strong affirmative indications that the New
 York court did not see itself as resolving this Court’s
 jurisdiction.


 12 To be sure, the Petitioner notes that the New York court
 ruled that it had subject-matter jurisdiction over this case and
 that this Court does, too. See id. But such a ruling is beside
 the point. No one doubts that federal district courts have
 jurisdiction over the subject matter, habeas cases under 28
 U.S.C. § 2241. Rather, the question is whether this Court has
 power over this habeas petition. A ruling as to federal courts’
 subject-matter jurisdiction over habeas cases generally does not
 answer that.

                                     12
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 13 of 67 PageID:
                                    784


 Look to one in particular.
 To see it, start by noting that in the Supreme Court’s Padilla
 decision, Justice Kennedy suggested in a concurrence that
 certain sorts of wrongful behavior from the United States, like
 hiding a detainee’s location, might confer habeas jurisdiction
 on a particular court, even one that might not otherwise have
 power over the case. See 542 U.S. at 454 (Kennedy, J.,
 concurring).
 The New York court did not decide whether to adopt for itself
 this concurrence. See Khalil, 2025 WL 849803, at *8. But it
 determined that even if the concurrence might be on the table as
 a general matter, the actions of federal officials in this
 particular case would not trigger it. See id. at *8–11.
 In reaching this conclusion, the New York court put aside any
 questions as to federal officials’ conduct related to the
 Petitioner’s later New Jersey–to–Louisiana transfer. See id. at
 *8. Those questions, the New York court said, were not
 “jurisdictionally relevant.” Id. at *9.
 And that makes sense. Any possible downstream misconduct by
 federal officials in sending the Petitioner from New Jersey to
 Louisiana could not impact whether there was or was not
 jurisdiction at an earlier point, in New York.
 Such an inquiry might, of course, shed light on whether there
 was jurisdiction in New Jersey.
 But no analysis like that was conducted. The New York court
 suggested such an analysis would be “jurisdictionally
 [ir]relevant.” Id. at *9. And with good reason. It was,
 indeed, irrelevant to its question (is there jurisdiction in New
 York?) --- even as it might well have been relevant to a
 question it was not addressing (is there jurisdiction in New
 Jersey?).
                                *    *      *
 Nor is it surprising in any way that the New York court
 transferred the case here without first deciding that this Court
 has jurisdiction.
 Courts routinely transfer cases on the understanding that the
 transferee court will itself determine in the first instance,
 when the case arrives, whether it has jurisdiction. See, e.g.,
 Abira Med. Lab’ys, LLC v. Cigna Health & Life Ins. Co., 2023 WL

                                     13
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 14 of 67 PageID:
                                    785


 4074081, at *2 n.4 (D.N.J. June 16, 2023); Ike v. U.S.
 Citizenship & Immigr. Servs., 2020 WL 7360214, at *2 (D.D.C.
 Dec. 15, 2020); Kneizys v. Fed. Deposit Ins. Co., 2020 WL
 5632954, at *4 (D. Nev. Sept. 21, 2020); Moore v. Baker, 2018 WL
 3421601, at *1 (M.D. Ala. June 18, 2018), report and
 recommendation adopted by 2018 WL 3420802 (M.D. Ala. July 13,
 2018); Morrison v. Rochlin, 2017 WL 1162938, at *3 n.3 (M.D. Pa.
 Mar. 29, 2017); Hara v. Hardcore Choppers, LLC, 904 F. Supp. 2d
 22, 28 (D.D.C. 2012); Benninghoff v. Ortho-McNeil Pharma., Inc.,
 2011 WL 13218034, at *2 (C.D. Cal. Apr. 6, 2011); Miller v.
 Toyota Motor Corp., 2008 WL 11451547, at *3 (N.D. Ohio Sept. 30,
 2008); De Pedrero v. Schweizer Aircraft Corp., 2008 WL 11503874,
 at *1 (S.D. Tex. Feb. 4, 2008); Int’l Flavors & Fragrances Inc.
 v. Van Eeghen Int’l. B.V., 2006 WL 1876671, at *8 (S.D.N.Y. July
 6, 2006); Alta. Telecomms. Rsch. Ctr. v. Rambus, Inc., 2006
 WL 1049083, at *3 n.2 (E.D. Va. Apr. 12, 2006); Apollo Prods.,
 Inc. v. Marino, 2006 WL 1798250, at *5 (W.D. Mo. June 28, 2006);
 Weber v. Jolly Hotels, 977 F. Supp. 327, 334 (D.N.J. 1997);
 Downs v. Red River Shipping Corp., 1994 WL 554174, at *3 n.4
 (E.D. La. Oct. 6, 1994); United States v. Am. River Transp.,
 Inc., 150 F.R.D. 587, 592 (C.D. Ill. 1993); Trask v. Serv.
 Merch. Co., 135 F.R.D. 17, 21 n.3 (D. Mass. 1991); Miller v.
 Campbell, 1991 WL 311899, at *1 (E.D. Mich. Feb. 7, 1991);
 Jennings v. Entre Comput. Ctrs., Inc., 660 F. Supp. 712, 716 (D.
 Me. 1987); Booth v. Alvin Petroleum, Inc., 1987 WL 6748, at *4
 (E.D. Pa. Feb. 13, 1987); cf. Federal Practice and Procedure
 § 3842.
 And there may well have been special reason to proceed that way
 here.
 To decide there was no wrongful conduct in New York, which may
 have been relevant to jurisdiction, the New York court leaned on
 its understanding of how ICE handles everyday cases in New York.
 See Khalil, 2025 WL 849803, at *8-10. That understanding was
 based to an extent on the New York judge’s own direct experience
 with New York ICE practices. See id. at *8.
 How does New Jersey ICE operate? The New York court may well
 have thought that the question was best considered in the first
 instance by a New Jersey judge --- himself or herself personally
 familiar with local ICE practices. Cf. Padilla, 542 U.S. at 449
 n.17 (dismissing Justice Kennedy’s proposed exception to habeas
 rules given that its factual premise was never suggested by the


                                     14
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 15 of 67 PageID:
                                    786


 district court, “which was much closer to the facts of the case
 than we are”).
 More generally, the New York court might have thought that
 determining what happened to the Petitioner in New Jersey could
 bear on New Jersey jurisdiction, see Khalil, 2025 WL 849803, at
 *8 (citing Padilla, 542 U.S. at 454 (Kennedy, J., concurring)) -
 -- but that any necessary fact-gathering on that point should go
 forward closer to where things happened, in New Jersey.
                                *    *      *
 And one last point.
 The Third Circuit has repeatedly made clear in the law-of-the-
 case context that the question of what one court decided is
 assessed, in part, with reference to the issues that were teed
 up for it by the parties.
 In United States v. Curtis, 683 F.2d 769 (3d Cir. 1982), for
 example, the court of appeals “decline[d] to infer [the first
 court’s] rejection,” id. at 772, of an argument that the parties
 had not meaningfully raised to the court “in the absence of some
 judicial statement that the contention has been considered and
 rejected.” Id.
 And look, too, to Fagan v. City of Vineland, 22 F.3d 1283 (3d
 Cir. 1994). There, the Third Circuit held that the first judge
 had not considered a particular issue --- in large part because
 the motion papers before him did not themselves dive into it.
 See id. at 1290–91.
 Against this backdrop, it would make little sense to conclude
 that the New York court held that this Court has jurisdiction --
 - even as the Petitioner himself did not substantially make that
 argument in New York.
 The Petitioner’s initial opposition brief mentioned going
 forward in New Jersey --- but only as a fourth fallback. See
 New York Opposition Brief at 20. The Petitioner argued to keep
 the case in New York; or if not, to allow jurisdictional
 discovery; or if not that, to allow an amendment to the
 Petition. See id. And if all that failed, the Petitioner
 argued, the case should be moved to New Jersey instead of
 Louisiana. See id.
 None of this teed up a serious reckoning with the distinct legal
 complexities associated with this Court’s jurisdiction, and none

                                     15
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 16 of 67 PageID:
                                    787


 of those complexities were discussed in the Petitioner’s opening
 brief --- which cited none of the key authorities that are
 relevant to New Jersey jurisdiction. There was, for example, no
 discussion from the Petitioner of 28 U.S.C. § 1631, see
 Part IV.B below, or Demjanjuk v. Meese, 784 F.2d 1114 (D.C. Cir.
 1986), see Part VII below.
 And when the New York court followed up with a directive for
 further briefing as to the import of three particular statutes,
 see Order (ECF 63), there was more of the same --- New Jersey
 jurisdiction was not substantially put forward as an issue by
 the Petitioner.
 The Petitioner suggested that “venue” was proper in New Jersey.
 See New York Opposition Brief at 20; Plaintiff[‘s] Supplemental
 Memorandum of Law in Opposition to Respondents’ Motion to
 Dismiss or Transfer (ECF 70) (“New York Supplemental Opposition
 Brief”) at 1–2, 5. And it did so largely by leaning on
 arguments from the location of witnesses, lawyers, and parties,
 see New York Supplemental Opposition Brief at 2–3, arguments
 that the New York court mainly agreed with. See Khalil, 2025
 WL 849803, at *12.
 But this argument from the Petitioner simply invited the New
 York court to do what it did --- to transfer the case on
 convenience-type grounds, see id., and to allow the transferee
 court (this Court) to decide in the first instance on its own
 jurisdiction.
 And this, as the cases cited above show, is an everyday approach
 in transfer cases.
                                *    *      *
 A final, related piece of the Petitioner’s papers helps to make
 clear that the question of New Jersey jurisdiction was far
 removed from how this case was litigated in New York.
 The New York court, as noted, sought analysis as to three
 statutes. See Order (ECF 63). In response, the Petitioner said
 that these statutes “use almost identical language.” New York
 Supplemental Opposition Brief at 5. But they do not. Two of
 the statutes (28 U.S.C. § 1404(a) and 28 U.S.C. § 1406(a)) use
 virtually “identical language,” and they touch in various ways
 on transfer and convenience. See 28 U.S.C. §§ 1404(a), 1406(a).



                                     16
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 17 of 67 PageID:
                                    788


 But the third statute uses quite different language than the
 other two. And that difference is perhaps the single most
 important piece of the New Jersey jurisdiction analysis to come.
 See Part IV.B. But the Petitioner did not note that language
 for the New York court, apparently because it did not matter for
 the argument he was making --- an argument as to transfer and
 convenience, not as to New Jersey jurisdiction.
                                *    *      *
 Bottom line: the New York court decided that it did not have
 jurisdiction, but not that this Court does.

       C.    Implicitly “The Same Issue”

 To finish out the analysis, go one step further.
 Was the issue of New Jersey’s jurisdiction somehow taken up
 implicitly by the New York court? See Moore’s Federal Practice
 § 134.20 (“The law of the case doctrine applies to an issue or
 issues that have actually been decided explicitly or by
 necessary implication.”); cf. Christianson, 486 U.S. at 817.
 At one or two points, the Petitioner appears to argue the New
 York court’s transfer decision necessarily implied that this
 Court has jurisdiction over the case. See Opposition Brief at
 9, 12.
 This argument, if it is being made, seems to start from the New
 York court’s ruling that this case “could have been brought,” 28
 U.S.C. § 1406(a) (emphasis added), in New Jersey because the
 Petitioner was in this state at the moment of filing.
 And that is certainly true to what the New York court held.
 From that starting point, the Petitioner’s argument seems to be
 this. Because (a) this case “could have been brought” in New
 Jersey (as the New York court ruled, citing the Section 1406(a)
 transfer statute), it follows that (b) this case should be
 treated as if it was brought in New Jersey at the moment it was
 filed in New York --- and because of that (c) this Court now has
 jurisdiction over the case.
 Much of this argument might well be persuasive in the end.
 Indeed, Part IV of this Court’s Opinion explains why (b) is
 sound. And Part VI of this Court’s Opinion explain why the
 progression from (b) to (c) also makes sense. But these issues
 are not addressed in the New York court’s opinion.

                                     17
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 18 of 67 PageID:
                                    789


 Maybe, though, the conclusions reached in this Opinion were
 logically necessary to, and thus implicitly baked into, the New
 York court’s transfer decision. 13
 But this works only if the New York court’s decision --- (a), in
 the above --- necessarily leads to (b), and then (b) necessarily
 leads to (c).
 But it does not go that way.
 The first step in the (a)/(b)/(c) progression is the move from
 (a) (saying that the case could have been brought in New Jersey,
 as the New York court held) to (b) (concluding that, therefore,
 the case should be treated as if it was brought in New Jersey).
 But that (a)-to-(b) move is not a necessary one --- not in logic
 and not in the law.
                                *    *      *
 To see the point, start by imagining a student who turns in a
 math assignment late. She could have done her homework on time.
 But that does not mean that her late work must be received by
 the teacher as if it was handed in on time. What could have
 been done (on-time work) sets the table for another question
 (whether to accept the late work). But it does not answer it.
 Or think of a train passenger asking the conductor not to charge
 him the extra $5 penalty fare, the step-up fine imposed for
 buying the ticket on board the train instead of back in the
 station. The passenger will not argue to the conductor that he
 could have bought the ticket in the station. That is not a
 winning argument. Why? Because the fact that the passenger
 could have bought the ticket earlier does not compel the
 conductor to give the passenger a break, to treat him as if he
 did buy the ticket earlier.
 In short, there is typically real daylight between what could
 have been done and what was done. Sometimes that daylight can
 be closed up. The late homework might be accepted as if it had
 been submitted on time. The conductor might say “no problem”
 and not charge the $5 penalty.



 13 Recall: “[t]he law of the case doctrine applies to an issue
 or issues that have actually been decided explicitly or by
 necessary implication.” Moore’s Federal Practice § 134.20.
                                     18
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 19 of 67 PageID:
                                    790


 But none of that changes the basic point: saying that a thing
 could have been done (which is what the New York court said
 about filing this case in New Jersey) does not inevitably lead
 to the conclusion that the thing should be treated as if it was
 done.
                                *    *      *
 And what is true as a matter of common sense is true as a matter
 of habeas corpus law, too.
 In the Supreme Court’s Padilla case, for example, a person was
 held in New York and then transferred to South Carolina. Only
 after the transfer was a habeas petition filed on his behalf in
 New York. See 542 U.S. at 431-32. Could the petition have been
 filed for the person while he was in New York? Yes, and if so,
 there would have been jurisdiction there. See id. at 441.
 But that possibility (what could have happened) did not answer
 whether the New York court had jurisdiction over the case.
 Indeed, the Padilla Court discussed that point at some length,
 see id. at 448–49 & n.17, and then held the New York court did
 not have jurisdiction. See id. at 451.
 In short, where the case could have gone forward (New York) did
 not determine which court (New York or South Carolina) had power
 over the case when it mattered.
 Take another example.
 In al-Marri v. Rumsfeld, 360 F.3d 707 (7th Cir. 2004), a person
 detained in Illinois, believing he was to be moved to military
 custody, asked to stay his transfer to have time to petition for
 habeas. See id. at 712. But he was transferred before he could
 file his petition. Per the Seventh Circuit, the question of
 where the petition could have been filed (in Illinois, before
 the transfer) did not answer whether jurisdiction was vested in
 the Illinois court (as if the filing had in fact been made):
             After the United States filed a motion to
             dismiss al-Marri’s indictment in the Central
             District of Illinois, his lawyer orally
             opposed “any movement of Mr. Al–Marri until
             we have an opportunity to file --- it will
             be a habeas corpus action I suspect . . . .
             We would ask that the Court stay his removal
             from the Peoria County jail for at least

                                     19
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 20 of 67 PageID:
                                    791


             until some time tomorrow so we would have an
             opportunity to file an appropriate petition
             with the Court in regard to the transfer to
             military custody.” The district judge
             denied this motion . . . .
             According to al-Marri, asking the district
             court for an injunction against transfer was
             equivalent to filing a petition under §
             2241; and if such a petition had been filed
             while al-Marri was still in the Central
             District of Illinois, that would have
             [allowed the Illinois court to exercise
             jurisdiction over such a petition] . . . .
             But what actually happened, rather than what
             could have happened, governs. Someone who
             files a notice of appeal one day after the
             time expired loses, even if the notice could
             have been filed on time. Likewise with a
             complaint filed one day after the statute of
             limitations, or a summons attempted to be
             served in hand one day after the potential
             defendant left the jurisdiction. What did
             happen is that, after arriving [in South
             Carolina], al-Marri filed a petition in
             Peoria, Illinois.
 Id. at 712 (emphasis in original) (cleaned up).
 Accordingly, the Seventh Circuit held, the habeas corpus case
 could not go forward in Illinois.
                                *    *      *
 In a nutshell, the New York court’s opinion might be understood
 as implicitly holding that this Court has jurisdiction over this
 case only if the New York holding (that this case “could have
 been” brought in New Jersey) necessarily requires the conclusion
 that New Jersey has jurisdiction. It does not. Padilla and al-
 Marri show that. Where a case “could have been” filed does not
 answer the question of whether it should be treated as having
 been filed there.
                                *    *      *
 Where things stand:


                                     20
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 21 of 67 PageID:
                                    792


 The issue raised here by the Respondents’ motion is whether this
 Court has jurisdiction over this case.
 That issue was not resolved by the New York court.            See Part
 III.B.
 And it does not work to argue that the New York court somehow
 implicitly held that this Court has jurisdiction. That runs
 aground on Padilla and al-Marri. See Part III.C.
 All of this means that the law-of-the-case doctrine does not
 come online here --- because “[t]he law of the case operates
 only to limit reconsideration of the same issue.” Fagan, 22
 F.3d at 1290.

       D.    Discretion

 As noted, the law-of-the-case doctrine is discretionary.              See
 Part III.A.
 And even assuming arguendo that the doctrine could be taken to
 apply here, based on some aspect of the language or implicit
 logic of the New York opinion, the Court would use its
 discretion not to invoke the doctrine in this case. 14


 14 In its next-to-last paragraph, the New York court’s opinion
 said: “It will be up to the transferee court in New Jersey to
 consider not only [the] Petition, over which it alone has
 jurisdiction, but also the various motions that [the Petitioner]
 has filed to date in connection with his Petition[.]” Id. at
 *14 (emphasis added). But it is not clear these words were
 necessary to the New York court’s transfer decision. And while
 the words are in the opinion’s “in sum” conclusion, the body of
 the opinion being summarized does not directly consider this
 Court’s jurisdiction, for the reasons noted in Parts III.B and
 III.C above. Moreover, especially because the Petitioner did
 not himself meaningfully argue in New York as to New Jersey
 jurisdiction, see Part III.B, this Court does not take the
 underscored words as resolving the question. See Fagan, 22 F.3d
 at 1289-91 (opinion and case citation by the first judge “might
 imply” a holding on an issue taken up by the second --- but did
 not count as resolving “the same issue” because the holding was
 “ambiguous” as to whether it did, and “[t]he record [wa]s
 unclear” given that the parties had not directly briefed the
 issue); see also Curtis, 683 F.2d at 772 (law-of-the-case
                                     21
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 22 of 67 PageID:
                                    793


 This Part III.D explains why.
                                *    *      *
 “[O]ne of the bases of the law of the case doctrine is to
 promote the finality and efficiency of the judicial process by
 protecting against the agitation of settled issues.” In re
 Celgene, 747 F. Supp. 3d at 761 (cleaned up).
 When “[t]ime was invested, attention was focused, and a decision
 was made,” id., the ball should stop bouncing. An issue that
 “has been reached and resolved, and is in the rear-view mirror,”
 id., should be left there.
 But none of that is this case.
 The relevant question --- does this Court now have jurisdiction?
 --- was not substantially addressed by the New York court. This
 does not clear the “a decision was made” bar. Id. Moreover,
 the question of this Court’s current jurisdiction can hardly be
 chalked up as being in the “rear-view mirror.” Id. The
 Respondents made that clear in New York, saying that if the New
 York court opted to transfer this case to New Jersey, they would
 raise, here, the question of whether this Court has
 jurisdiction. See Respondents’ Memorandum of Law in Support of
 Their Motion to Dismiss or to Transfer the Case (ECF 31) at 10-
 11.
 In short: if the Court were to assume arguendo that the law-of-
 the-case doctrine applies here because the New York court
 focused on “the same issue,” Fagan, 22 F.3d at 1290, this Court
 would exercise its discretion to not apply the doctrine, because
 of the “unusual circumstances,” see Hayman Cash Reg., 669 F.2d
 at 165, 169, 170, set out above, plus three more discussed just
 below.



 doctrine not triggered, in spite of language in the first
 opinion that might “reflect[] full awareness” of a certain
 question, because the parties had not meaningfully briefed that
 issue). On balance, the better understanding is that the New
 York court did what courts routinely do. See Part III.B
 (collecting cases). It transferred this case here on
 convenience-focused grounds, see Khalil, 2025 WL 849803, at *13–
 14, and left it for this Court in the first instance to rule on
 its jurisdiction.

                                     22
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 23 of 67 PageID:
                                    794


 First, the law-of-the-case doctrine aims to nip delay in the bud
 by preventing an issue that was considered before from being
 litigated again. See id. at 167.
 And more pointedly: “the place of trial [should not] remain
 unsettled for an unnecessarily long time to accommodate double
 judicial consideration.” Hoffman v. Blaski, 363 U.S. 335, 349
 (1960) (Frankfurter, J., dissenting). Cases need to get off the
 ground.
 But these concerns do not loom large. A “double” look is not
 happening here --- the New York court ruled on its jurisdiction,
 and this Court today rules on its own. And there has been no
 “unnecessar[y]” delay. The New York court ruled ten days after
 the habeas petition was filed. This Court rules today on the
 second business day after oral argument. (Oral argument itself
 went forward around 36 hours after the last brief as to
 jurisdiction was filed.)
 Second, the law-of-the-case doctrine rests on the idea that it
 is for “the judicial department to say what the law is.”
 Marbury v. Madison, 5 U.S. (1 Cranch) 137, 177 (1803). This
 “duty,” id., falls to the judiciary as a whole (“the judicial
 department”), and there is no reason to think that one judge is
 somehow better at it than another. The law-of-the-case doctrine
 reflects that idea --- by telling the second judge to respect
 the first, who has “sa[id] what the law is” for the case, and
 whose determination should generally stand.
 But again, none of this is at stake here. On the point of New
 Jersey’s jurisdiction, there has not yet been a sustained
 statement of “what the law is.” 15
 Third and finally, courts routinely hold that “judges are
 significantly less constrained by the law of the case doctrine
 with respect to jurisdictional questions.” Gilbert v. Ill.
 State Bd. of Educ., 591 F.3d 896, 903 (7th Cir. 2010) (cleaned
 up); accord, e.g., Phelps v. Alameda, 366 F.3d 722, 728 n.6 (9th
 Cir. 2004); cf. Pub. Int. Rsch. Grp. of N.J., Inc. v. Magnesium
 Elektron, Inc., 123 F.3d 111, 118-19 (3d Cir. 1997). And that


 15 Cf. Pennsylvania v. Brown, 373 F.2d 771, 784 (3d Cir. 1967)
 (“It is universally recognized that questions which merely lurk
 in the record, neither brought to the attention of the court nor
 ruled upon, are not to be considered as having been so decided
 as to constitute precedents.”) (cleaned up).
                                     23
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 24 of 67 PageID:
                                    795


 principle applies with special force here. Especially on a
 potentially complex question, it does not make sense to allow
 either a very short statement or an implicit ruling to take the
 place of a direct and detailed analysis.
 Jurisdiction is the “first and fundamental question,” Great S.
 Fire Proof Hotel Co. v. Jones, 177 U.S. 449, 453 (1900), and it
 should be taken head-on and fully before it is determined
 whether this Court can assume power over this case.

       E.    Conclusion

 The law-of-the-case doctrine does not apply. This is because
 the issue here is whether this Court has jurisdiction, and that
 “same issue” was not taken up by the New York court, see Part
 III.B, not even implicitly. See Part III.C.
 In addition, even assuming arguendo there is some way in which
 that “same issue” was reached and resolved in New York, law of
 the case is a discretionary doctrine, see Part III.A. --- and
 the Court chooses not to apply it here. See Part III.D.

 IV.   What Supplies Jurisdiction

 The Petitioner’s law-of-the-case argument aimed to cut things
 off at the pass, but it was not persuasive. See Part III.
 Come now then to the substance of the Respondents’ motion to
 dismiss for lack of jurisdiction.
 The argument the motion rests on is unpacked just below in Part
 IV.A, and in Part IV.B the Court explains why it does not work.

       A.    The Respondents’ Argument

 The Respondents’ argument can be put this way:
 A habeas court has jurisdiction over a case when it has two
 things at once. First, it must have the habeas petition. And
 second, it must have, in its district, the habeas petitioner.
 See Motion to Dismiss at 1; cf. Padilla, 542 U.S. at 435, 437.
 The New York court sent the Petition to New Jersey on March 19.
 See Khalil, 2025 WL 849803, at *14. But by the time the
 Petition arrived in New Jersey, the Petitioner was gone. He was
 in Louisiana.



                                     24
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 25 of 67 PageID:
                                    796


 At no moment, then, were the Petition and the Petitioner
 together in the same place. When the Petitioner was here, the
 Court lacked the Petition; and now that the Court has the
 Petition, the Petitioner is elsewhere. The Petition and the
 Petitioner missed each other; and so, the argument goes, there
 has never been jurisdiction in this Court.
 Therefore, it makes no difference that the New York court moved
 the case here on March 19 under Section 1406(a) and Section
 1404(a), because the case “could have been” or “might have been”
 brought here back on March 9, when the case was first filed and
 the Petitioner was physically in New Jersey.
 Why does the transfer make no difference?
 Jurisdiction is missing because the Petition and the Petitioner
 were never here together, as the Supreme Court in Padilla
 required. And the transfer statutes do not purport to provide
 the missing jurisdiction. See Motion to Dismiss at 1, 5, 9-10.
 On the Respondents’ argument, the transfer statutes are like
 conveyor belts, smoothing the way for cases to move from one
 district to another.
 But they are not like time machines. They do not allow a
 Petition that arrived in New Jersey on March 19 to be treated as
 if it had arrived in New Jersey on March 9 at 4:40am --- the
 moment it was filed in New York, and also a moment when the
 Petitioner was here in New Jersey. And unless the Petition can
 be somehow backdated and thought of as having been in New Jersey
 on March 9 when the Petitioner was last here, there is no moment
 when both the Petition and the Petitioner were here together in
 New Jersey. Therefore, there would be no habeas jurisdiction in
 the state.

       B.    Section 1631

 The problem with the Respondents’ argument as set out above is
 this: it does not reckon with 28 U.S.C. § 1631.
 That statute dates from 1982, and it is titled “Transfer to cure
 want of jurisdiction.” Per Section 1631:
             Whenever a civil action is filed in a court
             . . . and that court finds that there is a
             want of jurisdiction, the court shall, if it
             is in the interest of justice, transfer such

                                     25
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 26 of 67 PageID:
                                    797


             action . . . to any other such court . . .
             in which the action . . . could have been
             brought at the time it was filed or noticed,
             and the action . . . shall proceed as if it
             had been filed in . . . the court to which
             it is transferred on the date upon which it
             was actually filed in . . . the court from
             which it is transferred.
 28 U.S.C. § 1631 (emphasis added).
 The statute is a command from Congress to the courts. Its
 language is clear. See Jimenez v. Quarterman, 555 U.S. 113, 118
 (2009) (“[W]hen the statutory language is plain, we must enforce
 it according to its terms.”); accord King v. Burwell, 576 U.S.
 473, 474 (2015); Dodd v. United States, 545 U.S. 353, 359
 (2005).
 It tells a court that receives a transferred case (as this Court
 did) that it must treat the case (“shall proceed”) “as if it had
 been filed in . . . the court to which it is transferred” (New
 Jersey) at the time it was first filed in the transferor court
 (New York).
 In other words, when Section 1631 is in play, it does indeed
 work as a kind of time machine, in a way that Section 1404(a)
 and Section 1406(a) do not purport to.
 If Section 1631 applies, its import for this case is unmissable:
 The Petition arrived in New Jersey on March 19. But this Court,
 per Section 1631, “shall proceed” as if the Petition got here
 when it was filed in New York --- March 9 at 4:40am. At that
 moment, the Petitioner was in New Jersey --- so there is no
 missing piece of the jurisdictional puzzle. Under Section 1631,
 the Petition counts as having been in New Jersey at the same
 moment the Petitioner was here.
 The key questions, then, are these: does Section 1631 apply to
 this case, and does it have the effect sketched out above? Yes
 and yes, the Court concludes. The sections that follow explain
 why.




                                     26
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 27 of 67 PageID:
                                    798


             1.   The Court Can Look to Section 1631

 In transferring this case, the New York court relied on Section
 1404(a) and Section 1406(a), not Section 1631. See Khalil, 2025
 WL 849803, at *12-13.
 Does this mean this Court should not rely on Section 1631?
 No. In Xu v. DHS/ICE Office of Chief Counsel, 2024 WL 2185060
 (3d Cir. May 15, 2024), for example, the Third Circuit preserved
 the timeliness of a lawsuit by “deem[ing]” it transferred under
 Section 1631 --- even though the district court had not used
 that statute, but rather had dismissed the case. See id. at *1.
 And before that, on another occasion, the Third Circuit had come
 to essentially the same conclusion --- that a transferee court
 can invoke Section 1631 even though the transferor court did
 not. See Martinez-Nieto v. Att’y Gen. of U.S., 805 F. App’x
 131, 135 (3d Cir. 2020).
 And every circuit court to have decided the issue has landed on
 that same spot, too. See Franco v. Mabe Trucking Co., Inc., 3
 F.4th 788, 796 (5th Cir. 2021); Kolek v. Engen, 869 F.2d 1281,
 1284 (9th Cir. 1989); 16 Ross v. Colo. Outward Bound Sch., Inc.,
 822 F.2d 1524, 1526-27 (10th Cir. 1987); In re Teles AG
 Informationstechnologien, 747 F.3d 1357, 1361 (Fed. Cir. 2014);
 see also Ctr. for Nuclear Resp., Inc. v. U.S. Nuclear Regul.
 Comm’n, 781 F.2d 935, 944-45 (D.C. Cir. 1986) (R.B. Ginsburg,
 J., dissenting).
 In short: the Court can, and does, 17 look to Section 1631 here;
 the fact the New York court did not invoke it as a basis for




 16 Accord Rodriguez-Roman v. INS, 98 F.3d 416, 423-24 (9th Cir.
 1996); In re McCauley, 814 F.2d 1350, 1352 (9th Cir. 1987).
 17 The Fifth Circuit has explained that Section 1631 --- which
 says a court “shall” transfer if certain requirements are met --
 - is sometimes mandatory. See Franco, 3 F.4th at 796. And the
 statute includes a similarly mandatory directive from Congress
 to the transferee court. That court “shall proceed as if [the
 case] had been filed in . . . the court to which it is
 transferred[.]” 28 U.S.C. § 1631 (emphasis added).

                                     27
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 28 of 67 PageID:
                                    799


 transferring this case does not matter, as every circuit to
 consider the question has suggested. 18

             2.   Section 1631 Applies to Habeas Petitions

 Per the section just above, the Court can look to Section 1631 -
 -- but does it apply in habeas cases like this one?
 Yes. Section 1631 applies to any “civil action” filed in a
 district court, see 28 U.S.C. § 1631, and a habeas proceeding is
 a civil action. See, e.g., Mayle v. Felix, 545 U.S. 644, 654
 n.4 (2005).
 In accord with this, the Third Circuit has repeatedly recognized
 that Section 1631 applies to habeas petitions. See, e.g.,
 Robinson v. Johnson, 313 F.3d 128, 139 (3d Cir. 2002) (stating
 that a district court may transfer a habeas petition under
 § 1631); United States v. Vidal, 647 F. App’x 59, 60 (3d Cir.
 2016) (same); Foy v. Super-Rich Members of Illuminati, 622 F.
 App’x 102, 103 (3d Cir. 2015) (same); Harvey v. Maiorana, 518 F.
 App’x 82, 83 (3d Cir. 2013) (same).
 And so have other courts of appeals across the Nation. See,
 e.g., Chappell v. Colorado, 2024 WL 2973701, at *2 n.5 (10th
 Cir. June 13, 2024); Gallo-Alvarez v. Ashcroft, 266 F.3d 1123,


 18 The Court decides the issue with the benefit of the parties’
 views, though to a very limited extent. The New York court
 ordered briefing on various statutes, including Section 1631,
 see ECF 63, and the parties provided it. See ECF 70–71. And in
 his brief to this Court, the Petitioner notes (lightly) that
 transfer under Section 1631 could have been appropriate. See
 Opposition Brief at 11 n.9. Note that had the Petitioner not
 invoked Section 1631 in any way at all, this Court could have
 considered it sua sponte. See Danziger & De Llano, LLP v.
 Morgan Verkamp LLC, 948 F.3d 124, 132 (3d Cir. 2020) (a district
 court “may transfer a case at the parties’ request or sua
 sponte” under Section 1631). What position to take is for the
 litigants under the party-presentation principle; but saying
 what the law is --- that is for the Court, and can therefore be
 raised sua sponte. See In re Celgene Corp., 747 F. Supp. 3d at
 760 n.17. Indeed, not bringing to bear Section 1631 would
 ignore Congress’ mandatory directive to transferee courts, see
 footnote 17, as to how they “shall proceed.” This Court must
 hew to Congress’ directive. Cf. Amy Coney Barrett, Substantive
 Canons and Faithful Agency, 90 B.U. L. Rev. 109, 112 (2010).
                                     28
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 29 of 67 PageID:
                                    800


 1127-28 (9th Cir. 2001); Phillips v. Seiter, 173 F.3d 609, 610
 (7th Cir. 1999).

             3.   Section 1631 Applies Here

 Section 1631 applies to habeas cases in general, see Part IV.B.2
 --- but does it apply to this habeas case in particular?
 It does. The statute’s effect on a transferee court is
 mandatory, see footnote 17, but only in two circumstances. See
 Franco, 3 F.4th at 796. First, when the transferor court “finds
 that there is a want of jurisdiction.” 28 U.S.C. § 1631. And
 second, when transfer to another court is “in the interest of
 justice.” Id.
 Here, each box was checked. The New York court (the transferor
 court) determined that there was “a want of jurisdiction.” See
 Khalil, 2025 WL 849803, at *14. And it held that transfer was
 in the interest of justice. See id. 19

             4.   Section 1631 Covers Personal Jurisdiction

 To this point, the Court has established that it can look to
 Section 1631, even though the New York court did not invoke it
 as a basis for transfer, see Part IV.B.1 --- and that
 Section 1631 applies to habeas petitions in general, see Part
 IV.B.2, and to this one in particular. See Part IV.B.3.
 Section 1631 is in play.      What then does it do?
 The words of the statute make clear that it cures jurisdictional
 defects. It tells the transferee court that it “shall” treat
 the case as having been brought there, in the transferee court,
 at the moment it was first initiated in the transferor court.




 19 Had the New York court not made its own “interest of justice”
 determination, it is possible that this Court might have been
 called on to assess the question, as part of determining whether
 Section 1631 applies. Cf. Xu, 2024 WL 2185060, at *1 & n.1
 (determining that a Section 1631 transfer would be “in the
 interest of justice” where the district court had dismissed the
 complaint altogether); Martinez-Nieto, 805 F. App’x at 135
 (similar). But this is irrelevant for now, because the New York
 court issued its own interest-of-justice ruling.


                                     29
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 30 of 67 PageID:
                                    801


 But what kinds of jurisdictional defects can be cured by Section
 1631?
 Subject-matter defects are irrelevant here.          See footnote 12.
 Does the statute cure the sort of personal jurisdiction issues
 that are on the table here?
 A leading treatise has suggested that Section 1631 focuses only
 on subject-matter jurisdiction cures. See Federal Practice and
 Procedure ¶ 3842.
 But this is not the better view.
 To see why, start with the text --- and end with it.
 “If the text be clear and distinct, no restriction upon its
 plain and obvious import ought to be admitted, unless the
 inference be irresistible.” Martin v. Hunter’s Lessee, 14 U.S.
 304, 338–39 (1816); see Conn. Nat’l Bank v. Germain, 503 U.S.
 249, 253–54 (1992) (collecting cases).
 Section 1631 says it can cure “a want of jurisdiction.” Had
 Congress wished, it could have said, for instance, that the
 statute will cure “a want of subject-matter jurisdiction.” But
 it did not, and the Court interprets the words as they are. The
 Court may not add a “restriction,” Martin, 14 U.S. at 339, and
 reading in “subject-matter” as a limit on “jurisdiction” would
 do just that.
 The Fifth Circuit has recently made this point, noting that
 Congress’ choice of an open-ended umbrella term in Section 1631
 (jurisdiction) means that the term cannot be pared back to
 remove some of what it ordinarily encompasses (like personal
 jurisdiction). See Franco, 3 F.4th at 793.
 This makes sense. “Jurisdiction” may be “a verbal coat of too
 many colors.” United States v. L. A. Tucker Truck Lines, Inc.,
 344 U.S. 33, 39 (1952) (Frankfurter, J., dissenting). But that
 is the term Congress chose. And it will not do for a court to
 see itself as tidying up Congress’ work after the fact, by
 removing some here and a bit there, on the thought that doing so
 provides more coherence.
 Moreover, the Fifth Circuit confirmed its reading by looking to
 a present-day dictionary, which defines “jurisdiction” as
 referencing both the personal and subject-matter sorts. See
 Franco, 3 F.4th at 792; cf. Kontrick v. Ryan, 540 U.S. 443, 455

                                     30
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 31 of 67 PageID:
                                    802


 (2004) (suggesting that “the label ‘jurisdictional’ . . .
 delineat[es] the classes of cases (subject-matter jurisdiction)
 and the persons (personal jurisdiction) falling within a court’s
 adjudicatory authority”).
 To be sure, the Supreme Court routinely directs courts to look
 to the contemporary meaning of statutory text, and that often
 involves a look to time-of-enactment dictionaries. See Sandifer
 v. U.S. Steel Corp., 571 U.S. 220, 227–28 (2014).
 But “jurisdiction” meant roughly the same thing in 1982, when
 Section 1631 became law. Shortly before the statute’s
 enactment, a leading legal dictionary defined “jurisdiction” as
 “a term of large and comprehensive import,” generally sweeping
 in “the authority by which courts and judicial officers take
 cognizance of and decide cases.” Jurisdiction, Black’s Law
 Dictionary (5th ed. 1979). The same dictionary defined “want of
 jurisdiction,” the fuller phrase in Section 1631, as a “[l]ack
 of jurisdiction over person or subject matter.” Want of
 Jurisdiction, Black’s Law Dictionary (5th ed. 1979) (emphasis
 added).
 Given the clear meaning of “jurisdiction,” there is no textual
 reason to think Congress wanted Section 1631 to reach only one
 sort of jurisdiction.
 Congress’ choice not to use the words “subject-matter
 jurisdiction” in Section 1631 is especially telling given that
 it has repeatedly used that language elsewhere in Title 28. See
 Franco, 3 F.4th at 792-93 (citing, for example, 28 U.S.C.
 § 1390(a)) (“The term ‘venue’ refers to the geographic
 specification of the proper court or courts for the litigation
 of a civil action that is within the subject-matter jurisdiction
 of the district courts in general.”) (emphasis added).
 And when legislators could have, but did not, adopt “obvious
 alternative” language, “the natural implication is that they did
 not intend” the alternative, and the Court cannot revisit that
 choice. Lozano v. Montoya Alvarez, 572 U.S. 1, 16 (2014).
 In short: the text of Section 1631 is clear, and underscores
 that the statute works to cure all sorts of jurisdictional
 defects --- the kind at issue here (related to personal




                                     31
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 32 of 67 PageID:
                                    803


 jurisdiction) and also those that have no bearing here (related
 to subject-matter jurisdiction). 20
                                *    *      *
 This conclusion reflects the clear judicial consensus.
 As alluded to above, the Fifth Circuit has held “that the term
 ‘jurisdiction’ in Section 1631 encompasses both personal and
 subject-matter jurisdiction.” Franco, 3 F.4th at 794.
 The First, Sixth, and Seventh Circuits have said the same. See
 Fed. Home Loan Bank of Bos. v. Moody’s Corp., 821 F.3d 102, 114
 (1st Cir. 2016), abrogated on other grounds by Lightfoot v.
 Cendant Mortg. Corp., 580 U.S. 82 (2017); Roman v. Ashcroft, 340
 F.3d 314, 328 (6th Cir. 2003); North v. Ubiquity, Inc., 72 F.4th
 221, 227 (7th Cir. 2023).
 And “[t]he Ninth, Tenth, and Eleventh Circuits have implicitly
 reached the same conclusion by either applying § 1631 to a
 transfer to cure a defect in personal jurisdiction, directing a
 district court to consider utilizing the provision to rectify a
 lack of personal jurisdiction, or approving such a transfer
 after it occurred.” Franco, 3 F.4th at 794 (citing Gray & Co.
 v. Firstenberg Mach. Co., 913 F.2d 758, 761–62 (9th Cir. 1990);
 Ross, 822 F.2d at 1527–28)); see United States v. Kinsey, 393 F.
 App’x 663, 665 (11th Cir. 2010); accord Okongwu v. Reno, 229
 F.3d 1327, 1331 & n.3 (11th Cir. 2000).
 And though the Third and Eighth Circuits have not answered this
 question directly, they have said in dicta that a transfer under
 Section 1631 can cure a lack of personal jurisdiction. See
 Island Insteel Sys., Inc. v. Waters, 296 F.3d 200, 218 n.9 (3d
 Cir. 2002); Johnson v. Woodcock, 444 F.3d 953, 954 n.2 (8th Cir.
 2006); accord Chavez v. Dole Food Co., Inc., 836 F.3d 205, 224
 (3d Cir. 2016) (noting that the proper transfer statute was
 “arguably” Section 1631 in a case where personal jurisdiction

 20 The Second Circuit has said that “the legislative history of
 section 1631 provides some reason to believe that this section
 authorizes transfers only to cure lack of subject matter
 jurisdiction.” SongByrd, Inc. v. Est. of Grossman, 206 F.3d
 172, 179 n.9 (2d Cir. 2000). But because the text is clear, the
 legislative history is out of bounds. See, e.g., Bostock v.
 Clayton Cnty., 590 U.S. 644, 674 (2020) (“[L]egislative history
 can never defeat unambiguous statutory text[.]”); accord Nat’l
 Ass’n of Mfrs. v. Dep’t of Def., 583 U.S. 109, 132 n.9 (2018).
                                     32
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 33 of 67 PageID:
                                    804


 was lacking); Tripati v. Wexford Health Sources Inc., 2022 WL
 17690156, at *2 n.4 (3d Cir. Dec. 15, 2022) (similar); Danziger,
 948 F.3d at 132 (calling Section 1631 the “relevant statute”
 regarding transfer where district court lacked personal
 jurisdiction); D’Jamoos ex rel. Est. of Weingeroff v. Pilatus
 Aircraft Ltd., 566 F.3d 94, 109-11 (3d Cir. 2009) (remanding to
 the district court to consider whether transfer was appropriate
 under Section 1631 when it lacked personal jurisdiction over
 defendant). 21
                                *    *      *
 The Court holds: Section 1631 can cure a personal-jurisdiction
 defect of the kind at issue here, and not just subject-matter
 jurisdiction defects.

             5.   What Section 1631 Means Here

 The previous sections, see Parts IV.B.1 to IV.B.4, established
 that the Court can look to Section 1631 in this case and use it
 to cure difficulties as to personal jurisdiction.
 How would that work here? To see the answer, start by looking
 again at the statutory language, and filling in some of the
 facts of this case.
             Whenever a civil action [here, this habeas
             case] is filed in a court [the New York
             court] . . . and that court finds that there
             is a want of jurisdiction [as it did here],
             the court shall, if it is in the interest of
             justice [as it found], transfer such action
             . . . to any other such court [this Court]
             . . . in which the action . . . could have
             been brought . . . , and the action . . .
             shall proceed as if it had been filed in
             . . . the court to which it is transferred
             on the date upon which it was actually filed
             in . . . the court from which it is
             transferred [that is, March 9, 2025, at
             4:40am].



 21 The Fourth Circuit has not decided the issue. See In re
 Carefirst of Md., Inc., 305 F.3d 253, 257 n.2 (4th Cir. 2002).


                                     33
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 34 of 67 PageID:
                                    805


 28 U.S.C. § 1631.
 Bottom line: Section 1631 means that the Petition here is
 treated as if it was backdated --- and in particular, as if it
 was filed on March 9.
 Various Third Circuit cases back up this reading.            Consider some
 below.

                  a)    Miller

 In Miller v. United States, 753 F.2d 270 (3d Cir. 1985), the
 petitioner challenged his discharge from the Army before the
 Third Circuit and the Federal Circuit. Later, he petitioned the
 Third Circuit for fees incurred at the Federal Circuit. See id.
 at 272.
 The Third Circuit held that it lacked jurisdiction over the
 claim for Federal Circuit fees. But by then, the deadline to
 file for fees in the proper court (the Federal Circuit) had
 passed. See id. at 273, 276.
 But the Third Circuit recognized that the Federal Circuit would
 have had jurisdiction over the fee petition “had it been filed
 as an original petition with that court.” Id. at 276.
 Backdating jurisdiction to the time of the original filing, the
 Third Circuit sent the petition to the Federal Circuit “in the
 interest of justice.” Id.

                  b)    Martinez-Nieto

 A newer Third Circuit case shares the same holding. In
 Martinez-Nieto v. Attorney General of United States, 805 F.
 App’x 131 (3d Cir. 2020), a person petitioned the Third Circuit
 to review a decision of the Board of Immigration Appeals. See
 id. at 133–34. He filed his petition on the last possible day -
 -- and, mistakenly, in the district court instead of the court
 of appeals. See id. at 135.
 The Third Circuit explained that the two criteria of Section
 1631 were met: the district court lacked jurisdiction, and a
 transfer would serve the interest of justice. See id. at 135.
 It therefore assumed jurisdiction over the otherwise time-barred
 petition, since it “would have been able to exercise
 jurisdiction on the date that the petition was filed in the
 District Court.” Id.


                                     34
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 35 of 67 PageID:
                                    806


 Like Miller, Martinez-Nieto parallels the facts here. A
 petitioner filed his action in a court that lacked jurisdiction.
 By the time he sought to fix his error, the right court could no
 longer exercise jurisdiction because of a procedural hurdle. A
 transfer “in the interest of justice” cured this problem by
 backdating jurisdiction in the receiving court to the time at
 which the petition was originally filed.

                  c)    Other Cases

 Miller and Martinez-Nieto are no outliers.
 Before, after, in between them, Third Circuit cases have pointed
 in the same direction: Section 1631 vests a court with precisely
 the jurisdiction it would have had at the time of the original
 case’s filing. See Xu, 2024 WL 2185060, at *1; Forkpa-bio v.
 Att’y Gen. of U.S., 296 F. App’x 239, 243 n.4 (3d Cir. 2008);
 Mejia-Juarez v. Att’y Gen. of U.S., 287 F. App’x 204, 205 n.1
 (3d Cir. 2008); Keller v. Petsock, 849 F.2d 839, 843 (3d Cir.
 1988); cf. Monteiro v. Att’y Gen. of U.S., 261 F. App’x 368, 369
 (3d Cir. 2008); Lawal v. Ashcroft, 89 F. App’x 774, 776 (3d Cir.
 2004); Campbell v. Off. of Pers. Mgmt., 694 F.2d 305, 309 n.6
 (3d Cir. 1982).

 V.    Section 1631 and Two Further Issues

 The analysis set out in Part IV establishes that this case,
 filed in New York on March 9 at 4:40am, must be treated as if it
 had been filed in New Jersey on March 9 at 4:40am --- under the
 authority of Section 1631.
 This establishes that this Court has jurisdiction.
 After all, the Petitioner was in custody in New Jersey on March
 9. The Petition must be treated as if it was filed here in New
 Jersey at that same moment. And per the Supreme Court in
 Padilla: that adds up to jurisdiction. See Padilla, 542 U.S. at
 447 (so holding); see generally Part II.
 But there are two complexities.
 The first: what of the fact that the Petitioner, here in New
 Jersey when the Petition was filed, is now in Louisiana?
 Jurisdiction may well have been proper in New Jersey on March 9.
 But is jurisdiction still proper today, now that the Petitioner
 is no longer in New Jersey?


                                      35
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 36 of 67 PageID:
                                    807


 The Court’s conclusion: yes, for the reasons set out in Part VI.
 The second issue: what of the fact that the Petitioner has not
 named as a respondent either the warden of the Louisiana
 facility (where he is now in custody) or the warden of the
 facility in New Jersey (where he was in custody while here)?
 That is generally required. See Anariba, 17 F.4th at 444
 (holding that a habeas petition that challenges ICE custody must
 generally name as the respondent the warden of the facility
 where the person is held).
 Jurisdiction might well have been proper in New Jersey on March
 9. But is jurisdiction still proper given that he has not sued
 the relevant warden?
 The Court’s conclusion: again, yes, for the reasons laid out in
 Part VII.
 Take all this up now, in the next two Parts.

 VI.   The Endo Rule

 As noted just above, see Part V, this Court’s jurisdiction is
 not undone because the Petitioner is no longer in New Jersey,
 having been moved to Louisiana after the Petition was filed.
 The basis for this conclusion is a rule --- call it “the Endo
 Rule” --- that a habeas court that otherwise has jurisdiction
 over a case does not lose that jurisdiction just because the
 habeas petitioner has been moved out of the district.
 Is that rule good law?      This Part shows that it is.
 The Court moves through the background quickly --- describing
 the key Supreme Court decision in this area and the two
 competing understandings of it, only one of which supports the
 referenced Endo Rule. See Part VI.A.
 From there, the Court explains that any debate that there once
 may have been is now over. The Endo Rule is now the law. See
 Part VI.B.
 And under the Endo Rule, this Court --- which otherwise has
 jurisdiction, see Part IV --- does not lose that jurisdiction
 because the Petitioner was transferred from New Jersey to
 Louisiana.




                                     36
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 37 of 67 PageID:
                                    808


       A.    Background

 Start with the key Supreme Circuit case, Ex parte Endo, 323 U.S.
 283 (1944).
 Mitsuye Endo, an American citizen, was removed from her home and
 detained in a California “relocation center,” along with
 thousands of other Japanese-Americans. See id. at 284-85, 288.
 While confined at the “center,” she filed a habeas petition in a
 California federal court. See id. at 285.
 The petition was denied, Endo appealed, and while the appeal was
 pending she was moved out of California and to a different
 facility, this one in Utah. See id.
 The case went to the Supreme Court, which held Endo should be
 released. See id. at 304. But how? Could the California court
 issue a habeas corpus writ releasing Endo --- even though she
 had been moved out of California?
 Yes, the Supreme Court held.       See id. at 307.
                                *     *     *
 How to understand the Supreme Court’s Endo decision?
 On some accounts, the decision was not about the California
 court’s power after Endo was moved to Utah. Rather, the
 decision was about whether the case had become moot because the
 people who were originally named as respondents in the habeas
 petition were no longer Endo’s immediate custodians.
 On this reading, the Supreme Court in Endo held no more and no
 less than this: the case before it was not moot. See id. at
 305.
 On that interpretation, Endo defeats any argument that a case in
 which a habeas petitioner has been moved is not ripe for
 decision --- but it does not affirmatively supply a basis for
 the first court (the California court) to continue to exercise
 jurisdiction.




                                     37
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 38 of 67 PageID:
                                    809


 There is some language in Endo that supports a mootness-flavored
 reading. See id. And over the years, some courts have
 foregrounded the mootness/ripeness aspects of the decision. 22
                                *    *      *
 But there is another interpretation of Endo --- one focused
 squarely on the idea that a court keeps power over a habeas
 case, even after the petitioner-detainee may have been
 transferred out of the court’s territory.
 That reading is true to the Endo Court’s language. See id. at
 306-07 (stating that the California federal court “acquired
 jurisdiction” when Endo filed her habeas petition, and kept the
 case because the objective of the habeas corpus statute “may be
 in no way impaired or defeated by the removal of the prisoner
 from the territorial jurisdiction of the District Court,” and
 the habeas “decree of the court [can be] made effective if a
 respondent who has custody of the prisoner is within reach of
 the court’s process even though the prisoner has been removed
 from the district since the suit was begun”).
 And that reading is in keeping with broader jurisdictional
 principles.
 Diversity jurisdiction, for example, locks in at the time a case
 is filed --- and survives changing circumstances down the line.
 That is true as to changes in the parties’ citizenship. See
 Louisville, N.A. & C.R. v. Louisville Tr. Co., 174 U.S. 552, 566
 (1899) (so holding); McCracken v. ConocoPhillips Co., 335 F.
 App’x 161, 162 (3d Cir. 2009) (same).
 And it is also true as to changes in the amount in controversy.
 See St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283,



 22 See, e.g., Copley v. Keohane, 150 F.3d 827, 829-30 (8th Cir.
 1998); Sharp v. Ciccone, 360 F.2d 605, 606 (8th Cir. 1966);
 Factor v. Fox, 175 F.2d 626, 628-29 (6th Cir. 1949); White v.
 Gilley, 2023 WL 5987206, at *2-3 (E.D. Ky. Sept. 13, 2023);
 Dailey v. Pullen, 2023 WL 3456696, at *3 (D. Conn. May 15,
 2023); Parker v. Hazelwood, 2019 WL 4261832, at *6 (D.N.H. Sept.
 9, 2019); Gonzalez v. Grondolsky, 152 F. Supp. 3d 39, 44-45 (D.
 Mass. 2016); Bowen v. Harris, 224 F. Supp. 976, 977-78 (W.D. Mo.
 1964).

                                     38
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 39 of 67 PageID:
                                    810


 289-90 (1938) (so holding); Auto-Owners Ins. Co. v. Stevens &
 Ricci Inc., 835 F.3d 388, 395-96 (3d Cir. 2016) (same).
 Or take this example: jurisdiction over in rem civil forfeiture
 and admiralty proceedings is generally determined by the
 physical location of the “res,” the thing, at the moment when a
 case is initially filed and the res is seized. See Republic
 Nat’l Bank of Mia. v. United States, 506 U.S. 80, 84-85 (1992).
 The res might later wind up leaving the physical jurisdiction of
 a district court. Maybe it is moved. Or maybe it is sold off,
 and the cash goes somewhere else.
 What then for the court’s jurisdiction? The answer: the court
 that initially had jurisdiction generally keeps it. See
 Republic Nat’l Bank, 506 U.S. at 84; see also, e.g., United
 States v. Real Props. & Premises, 521 F. App’x 379, 383 (6th
 Cir. 2013) (applying Republic Nat’l Bank to retain
 jurisdiction); Vitol, S.A. v. Primerose Shipping Co. Ltd., 708
 F.3d 527, 540-41 (4th Cir. 2013) (same, as to quasi in rem
 proceedings); Ventura Packers, Inc. v. F/V Jeanine Kathleen, 424
 F.3d 852, 860-61 (9th Cir. 2005) (in rem). 23



 23 This has essentially been the rule since the early days of
 this Republic. See, e.g., The Little Charles, 26 F. Cas. 979,
 982 (C.C.D. Va. 1818) (No. 15,612) (Marshall, C.J.) (in a case
 regarding the seizure of a vessel, “[t]here must be seizure to
 vest the jurisdiction. But it is not believed that the
 continuance of possession, is necessary to continue the
 jurisdiction. It is a general principle, that jurisdiction,
 once vested, is not divested, although a state of things should
 arrive in which original jurisdiction could not be exercised.”);
 The Rio Grande, 90 U.S. (23 Wall.) 458, 463 (1875) (similar).
 Note that there are exceptions to the rule. Jurisdiction, for
 example, can be lost if a change in circumstances renders any
 judgment “useless,” because there is nothing left within the
 court’s jurisdiction to collect against. See Republic Nat’l
 Bank, 506 U.S. at 85-87; see also Cmty. Bank of Lafourche v.
 Lori Ann Vizier, Inc., 541 F. App’x 506, 513 (5th Cir. 2013);
 Eurasia Int’l, Ltd. v. Holman Shipping, Inc., 411 F.3d 578, 583-
 84 (5th Cir. 2005); Woodlands Ltd. v. Nationsbank, N.A., 164
 F.3d 628, *5-6 (4th Cir. 1998); United States v. One Parcel of
 Real Estate at 3262 SW 141 Ave., Mia., 33 F.3d 1299, 1303-04
 (11th Cir. 1994); Newpark Shipbuilding & Repair, Inc. v. M/V
 Trinton Brute, 2 F.3d 572, 573 (5th Cir. 1993).
                                     39
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 40 of 67 PageID:
                                    811


       B.    Consensus Understanding

 As alluded to just above, see Part VI.A, there has been a debate
 over the years as to how to most faithfully read Endo.
 But that back and forth is now over. The Supreme Court has made
 clear that Endo is not a mootness case but a jurisdictional one.
 Per the Court in Padilla:
             Endo stands for the important but limited
             proposition that when the Government moves a
             habeas petitioner after she properly files a
             petition naming her immediate custodian, the
             District Court retains jurisdiction and may
             direct the writ to any respondent within its
             jurisdiction who has legal authority to
             effectuate the prisoner’s release.
 Padilla, 542 U.S. at 441 (emphasis added).
 That might have been dicta, but other cases’ holdings point the
 same way.
 Take, for example, Anariba v. Director Hudson County
 Correctional Center, 17 F.4th 434 (3d Cir. 2021).
 There, a person detained in New Jersey filed a habeas petition.
 See id. at 436. The petition was denied. Transferred to a
 detention facility outside New Jersey, he made a new filing,
 which the Third Circuit took as a motion to reconsider the
 habeas ruling. See id. at 439, 444.
 Could the motion be taken up, even though the habeas petitioner
 was no longer in New Jersey? Yes, the Third Circuit answered,
 see id. at 445-46 --- because like Padilla, it took Endo as
 supporting continued jurisdiction in a habeas court, even after
 the habeas petitioner was moved out of the relevant district.
 The Third Circuit cited Endo and Padilla. See id.
 And it noted:
             Our precedent likewise reflects an adherence
             to the general rule articulated in Endo,
             that the government’s post-filing transfer
             of a § 2241 petitioner out of the court’s
             territorial jurisdiction does not strip the
             court of jurisdiction over the petition.


                                     40
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 41 of 67 PageID:
                                    812


 Id. (citing Ex parte Catanzaro, 138 F.2d 100, 101 (3d Cir.
 1943)). 24
 And from Catanzaro:
             [W]e do not believe that passing about of
             the body of a prisoner from one custodian to
             another after a writ of habeas corpus has
             been applied for can defeat the jurisdiction
             of the Court to grant or refuse the writ on
             the merits of the application.
 138 F.2d at 101.
 All of this is consistent with other Third Circuit cases. See,
 e.g., Hoffman v. Warden Phila. FDC, 2022 WL 1564177, at *2 (3d
 Cir. May 18, 2022); McGee v. Martinez, 490 F. App’x 505, 506 (3d
 Cir. 2012); Brown v. Yates, 154 F. App’x 319, 320 (3d Cir.
 2005). 25
 And the district courts of this Circuit have treated the matter
 as done and settled: a habeas court with jurisdiction does not
 lose it because the detainee has been moved out of the district.
 See, e.g., Summers v. FCI Loretto Warden, 2025 WL 72797, at *1
 (W.D. Pa. Jan. 10, 2025); Saillant v. Hoover, 2020 WL 4924567,
 at *2 (M.D. Pa. Aug. 21, 2020); Guerrero Sanchez v. Sabol, 2019
 WL 1977922, at *5 n.14 (M.D. Pa. May 3, 2019); Almahdi v.
 Rabsatt, 2015 WL 5567312, at *2 (D.N.J. Sept. 22, 2015); McGee

 24 See also Anariba, 17 F.4th at 448 (“Allowing a district court
 to retain jurisdiction for all post-filing proceedings
 . . . despite a detainee’s transfer out of the territorial
 jurisdiction of the district court in which the § 2241 petition
 was filed, would minimize incentives for Government abuse of the
 already turbulent ICE transfer process.”).
 25 Other circuit courts take the same approach. See Roberts v.
 LeJeune, 43 F.4th 695, 698 (7th Cir. 2022); Lennear v. Wilson,
 937 F.3d 257, 263 n.1 (4th Cir. 2019); Pinson v. Bekebile, 604
 F. App’x 649, 652-53 (10th Cir. 2015); White v. Lamanna, 42 F.
 App’x 670, 671 (6th Cir. 2002); Vasquez v. Reno, 233 F.3d 688,
 695 (1st Cir. 2000); Francis v. Rison, 894 F.2d 353, 354 (9th
 Cir. 1990); Harris v. Ciccone, 417 F.2d 479, 480 n.1 (8th Cir.
 1969); see also Stokes v. U.S. Parole Comm’n, 374 F.3d 1235,
 1237-39 (D.C. Cir. 2004); Henderson v. INS, 157 F.3d 106, 125
 (2nd Cir. 1998).

                                     41
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 42 of 67 PageID:
                                    813


 v. Martinez, 2011 WL 5599338, at *2 (M.D. Pa. Nov. 17, 2011);
 Dandridge v. Schultz, 2007 WL 4300846, at *8 n.3 (E.D. Pa. Dec.
 6, 2007); Qiang v. Dist. Dir. for Immigr. Customs Enf’t, 2006 WL
 3762029, at *2 (M.D. Pa. Dec. 20, 2006); Parra v. U.S. Parole
 Comm’n, 2005 WL 8164431, at *2 n.3 (W.D. Pa. Dec. 13, 2005); Bah
 v. Wagner, 2005 WL 83259, at *1 (E.D. Pa. Jan. 13, 2005); Miller
 v. United States, 2004 WL 887420, at *1 (E.D. Pa. Apr. 23,
 2004); Chavez-Rivas v. Olsen, 194 F. Supp. 2d 368, 371 (D.N.J.
 2002); Caballero v. United States, 145 F. Supp. 2d 550, 558
 (D.N.J. 2001); see also White v. Grace, 2005 WL 1309044, at *4
 (M.D. Pa. June 1, 2005).
                                *    *      *
 Bottom line: the Endo Rule is the law --- and under that rule
 this Court retains the jurisdiction it had over this case, see
 Part IV, even though the Petitioner is now in Louisiana.

 VII. The Immediate Custodian Rule

 To this point, the Court has determined that it properly
 acquired jurisdiction over this case because, under 28 U.S.C.
 § 1631, the Petition counts as if it was filed here at around
 4:40am on March 9 --- when the Petitioner was in New Jersey.
 See Part IV.
 And as set out just above, see Part VI, jurisdiction has stayed
 with the Court since March 9 --- even though later on March 9
 the Petitioner was moved to Louisiana and remains there.
 There is, though, one remaining issue.
 As noted, see Part II and Part V, habeas petitions must name as
 a respondent the detainee’s “immediate custodian.” See
 generally Padilla, 542 U.S. at 435. For a person being detained
 in connection with an immigration matter, the immediate
 custodian is the warden of the detention center. See Anariba,
 17 F.4th at 444.
 The Petitioner did not name any warden.
 That was no surprise --- at the time she put together a filing
 on his behalf, the Petitioner’s lawyer thought he was in New




                                     42
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 43 of 67 PageID:
                                    814


 York. It would not have made sense for her to name the warden
 of a New Jersey facility. 26
 Is this an issue?     As a practical matter, not always.
 When a habeas case is filed in the wrong district and then sent
 to another, the petitioner often simply adds a proper
 respondent-warden in the new district --- and things are wrapped
 up that way. 27
 But that is not required.
 A court does not have jurisdiction unless the proper immediate
 custodian is named as a respondent on the petition. See
 Padilla, 542 U.S. at 441. A respondent-custodian can choose to
 waive objections to personal jurisdiction. See Dufur v. U.S.
 Parole Comm’n, 34 F.4th 1090, 1096–97 (D.C. Cir. 2022); Flynn v.
 Kansas, 299 F. App’x 809, 810 n.3 (10th Cir. 2008); Smith v.
 Idaho, 392 F.3d 350, 355–56 (9th Cir. 2004). But he or she does
 not need to.



 26  Naming a New Jersey warden while confident that her client
 was in New York might have been in some tension with the
 lawyer’s professional obligations. See Fed. R. Civ. P. 11(b);
 cf. Moore’s Federal Practice § 11.11. And note that the law has
 long expected lawyers working on behalf of detainees to do the
 legwork needed to name the right custodian, even when doing so
 is very difficult. See, e.g., Paul D. Halliday, Habeas Corpus:
 From England to Empire 43 (2010) (describing 17th- and 18th-
 century practice).
 27 For cases in which courts have gone down that route or a
 similar one, see, for example: Jackson v. Chapman, 589 F. App’x
 490, 491 n.1 (11th Cir. 2014); Kordelski v. Jordan, 111 F. App’x
 557, 558 n.* (10th Cir. 2004); Stanley v. Calif. Sup. Ct., 21
 F.3d 359, 360 (9th Cir. 1994); West v. Louisiana, 478 F.2d 1026,
 1029 (5th Cir. 1973); Medina v. People, 2020 WL 5217150, at *6
 (C.D. Cal. July 28, 2020); Bradley v. U.S. Parole Comm’n, 2017
 WL 2604267, at *1 n.2 (M.D. Pa. May 23, 2017), report and
 recommendation adopted by 2017 WL 2592403 (M.D. Pa. June 15,
 2017); Forney v. Recktenwald, 2014 WL 4437552, at *1 (M.D. Pa.
 Sept. 9, 2014); Burns v. Weber, 2010 WL 276229, at *5 (D.N.J.
 Jan. 19, 2010); see also Bridges v. Chambers, 425 F.3d 1048,
 1049 (7th Cir. 2005); Smith v. Idaho, 392 F.3d 350, 353 n.3 (9th
 Cir. 2004); Cruz-Aguilera v. INS, 245 F.3d 1070, 1073 n.2 (9th
 Cir. 2001).
                                     43
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 44 of 67 PageID:
                                    815


 That is in essence the tack the Respondents take here.
 First, they argue that this Court lacks jurisdiction because the
 Petitioner’s current immediate custodian (the warden of the
 Louisiana facility where he is held) is not named as a
 respondent. See Motion to Dismiss at 6 (implying this
 argument); Transcript at 17:14-19, Khalil v. Joyce, No. 25-01963
 (D.N.J. Mar. 28, 2025) (“March 28 Transcript”).
 And this might be a practical problem.
 There are hard territorial limits on a habeas court’s
 jurisdiction. This Court’s habeas power ends at the state line.
 Out-of-state “long arm” jurisdiction is available in most other
 civil cases, but not in this one. See Padilla, 542 U.S. at 444–
 45; see also Gonzalez v. Grondolsky, 152 F. Supp. 3d 39, 44 (D.
 Mass. 2016) (interpreting Padilla); Qiang, 2006 WL 3762029, at
 *2 (same); see generally Brian R. Means, Postconviction Remedies
 § 12:5 (2024) (describing Padilla).
 So if the Louisiana warden must be named, the Court might not be
 able to reach him or her.
 And second, the Respondents argue that even if the Petition were
 treated as having been filed on March 9, there is no
 jurisdiction here because a New Jersey warden was never named.
 See Motion to Dismiss Brief at 8 (“Because [the Petitioner’s]
 original petition was improper, no court has yet had proper
 habeas jurisdiction over this matter.”); March 28 Transcript at
 8:25 to 9:12.
                                *    *      *
 Neither of these arguments works.
 The first argument, as to the Louisiana warden, runs aground on
 the Supreme Court’s Endo Rule, see Part VI, for reasons
 explained below in Part VII.A.
 The second argument, as to the New Jersey warden, makes for a
 closer question. But it, too, does not work --- in light of the
 “unknown custodian” exception most commonly associated with
 Judge Bork’s decision in Demjanjuk v. Meese, 784 F.2d 1114 (D.C.
 Cir. 1986). This is explained in Part VII.B.




                                     44
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 45 of 67 PageID:
                                    816


       A.    The Louisiana Warden

 Recall that under the Endo Rule a court retains jurisdiction
 over a habeas petitioner even after the petitioner is moved out
 of the court’s territory. See Part VI.
 But how can this work?
 Assume that the court decides that the petitioner must be
 released. The court then would be expected in the ordinary case
 to issue a writ to the petitioner’s immediate custodian. But
 the court does not have obvious direct power over the custodian.
 After all, in the Endo situation the immediate custodian is by
 definition physically outside the court’s jurisdiction. 28
 Something needs to give. Either the Endo idea that the court
 keeps jurisdiction as the petitioner is moved about. Or the
 idea that habeas writs can run only to the immediate custodian.
 The Supreme Court’s choice: to relax the immediate custodian
 rule. 29 Per the Padilla Court:
             Endo stands for the . . . proposition that
             when the Government moves a habeas
             petitioner after she properly files a
             petition naming her immediate custodian, the
             District Court retains jurisdiction and may
             direct the writ to any respondent within its
             jurisdiction who has legal authority to
             effectuate the prisoner's release.
 542 U.S. at 441.



 28 “By definition” because Endo is about detainees who are moved
 outside a court’s territory. And immediate custodians are
 always physically with detainees. See Padilla, 542 U.S. at 444
 (“By definition, the immediate custodian and the prisoner reside
 in the same district.”). That is what makes them “immediate”
 custodians. See Yi v. Maugans, 24 F.3d 500, 508 (3d Cir. 1994)
 (“[I]t is the warden that has day-to-day control over the
 prisoner and who can produce the actual body.”).
 29 In a somewhat analogous non-habeas context, courts have seen
 things differently --- and held that it is the retain-
 jurisdiction principle that might not be sustainable. See
 footnote 23 (discussing the “useless judgment” rule).
                                     45
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 46 of 67 PageID:
                                    817


 Who has “legal authority”?      A senior supervisor of the immediate
 custodian.
 For example, in the Endo case itself, the California court did
 not have power over Endo’s Utah-based immediate custodian. See
 323 U.S. at 285. But that did not matter, the Supreme Court
 explained. The California court had jurisdiction over an up-
 the-chain supervisor of the immediate custodian, and the
 supervisor could tell the immediate custodian to release Endo.
 See id. at 304-05.
                                *    *      *
 Come back now to this case.
 Here, there was no need for the Petitioner to have named the
 Louisiana warden as a respondent. This is because one of the
 warden’s senior supervisors is named --- and that is what is
 needed under the Supreme Court’s decisions in Padilla and Endo.
 The senior supervisor-respondent is the Secretary of Homeland
 Security. See footnote 4. Her cabinet department includes ICE.
 See Clark v. Martinez, 543 U.S. 371, 375 (2005). And ICE runs
 the facility where the Petition is currently detained. See
 Joyce Declaration ¶¶ 18–19.
 Moreover, as the Respondents concede, the Secretary “is within
 the Court’s jurisdiction.” See Respondents’ Letter (Mar. 28,
 2025) (ECF 140). Therefore, if it came to it, this Court could
 order the Secretary to direct the immediate custodian to release
 the Petitioner.

       B.    The New Jersey Warden

 Come now to a final immediate custodian issue.
 The Petition, as discussed above, was filed in New York on March
 9, and must be treated as if it was filed in New Jersey at that
 moment. See Part IV.B. But the Petition said nothing about the
 Petitioner’s then-custodian --- the warden of the New Jersey
 facility where he was then held.
 That seems at first glance to run afoul of the immediate
 custodian rule. After all, jurisdiction requires not only that
 the petitioner be in the district --- but also that his
 immediate custodian be named as a respondent on the petition.



                                     46
Case 2:25-cv-01963-MEF-MAH   Document 153    Filed 04/01/25   Page 47 of 67 PageID:
                                    818


 See Padilla, 542 U.S. at 435, 442.         And here no New Jersey
 warden was named. 30
 The Court’s concludes that, on the facts here, this is no bar to
 jurisdiction.
 To explain why, the Court first sets out some relevant (and
 uncontested) facts, see Part VII.B.1, and then describes the
 unknown custodian exception to the immediate custodian rule.
 See Part VII.B.2. The Court then determines, see Part VII.B.3,
 that the exception applies to this case --- and excuses the
 Petitioner’s failure to name a New Jersey warden. See Part
 VII.B.3.

             1.   Facts

 Move now through some of the relevant facts.
 The Petitioner, as previously noted, was arrested at around
 8:30pm on March 8. See Greer Declaration ¶ 4; Joyce Declaration
 ¶ 7. The arrest took place in Manhattan. See Joyce Declaration
 ¶ 7.
 One of the arresting agents said to the Petitioner’s wife that
 he was being taken to a particular and prominent local building.
 See Declaration of Noor Ramez Abdalla (ECF 55) (“Abdalla
 Declaration”) ¶ 14; see also Greer Declaration ¶ 7. The
 building is in Manhattan.
 A lawyer for the Petitioner then “worked all night to draft a
 habeas petition.” Greer Declaration ¶ 9. It was electronically
 filed at 4:40am, see id., in the federal court in Manhattan.
 Why there?    Per the lawyer:
             At the time of filing the petition, we had
             every reason to believe that Mahmoud [the

 30 The Endo Rule, as discussed just above in Part VI, is not
 relevant. It is about a transfer (in this case, to Louisiana)
 after jurisdiction has attached --- not about whether
 jurisdiction properly attached in the first place. It allows
 for loosening of the immediate custodian rule at Time 2, after a
 person has been moved. See Part VI.A. But it does not purport
 to say anything as to the immediate custodian rule for the
 earlier period, at Time 1.


                                     47
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 48 of 67 PageID:
                                    819


             Petitioner] was detained in New York because
             of what the DHS agent told his wife and the
             ICE Online Detainee Locator System.
             I originally checked the ICE locator around
             10 PM on Saturday, March 8th and Mahmoud was
             not in the system. I checked again at 1:35
             AM on Sunday, March 9th and it said he was
             in custody in New York and to call the field
             office. I checked again at 4:29 AM on
             Sunday, March 9th and it said the same
             thing. I checked again at 8:30 AM on
             Sunday, March 9th and Mahmoud was still
             listed as being detained in New York.
 Id. ¶¶ 9–10.
 In a nutshell: the Petitioner filed in Manhattan because
 affirmatively-supplied information said he was there. The
 arresting agent pointed to Manhattan, and so did the online
 “detainee locator” --- it “located” the Petitioner in New York,
 both before and after the filing was made there.
 But as has been discussed, the Petitioner was moved from
 Manhattan to New Jersey during the early hours of March 9, about
 80 minutes before the Manhattan petition was filed. Compare
 Joyce Declaration ¶ 14, with Greer Declaration ¶ 9.
 Could the Petitioner have told his lawyer or someone else that
 he had been moved to New Jersey? The evidence on this point is
 from the Petitioner, and has not been disputed:
             The moment I arrived [in New Jersey], I told
             the officers that I needed to call my
             attorney. They told me to ask another guy
             at the facility. I asked that guy, and he
             said I needed to wait until I was processed.
 Khalil Declaration ¶ 9.
             Later, in the morning, I asked a female
             officer to allow me to call my attorney, and
             she told me, like the first guy, to wait
             until I was processed.
 Id. ¶ 12.



                                     48
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 49 of 67 PageID:
                                    820


 Could someone have determined in real time that the Petitioner
 had been moved to New Jersey, such that the Petition, then being
 prepared, might have listed a New Jersey warden as a respondent?
 Nothing in the record suggests that. And there is no suggestion
 that anyone connected with the Petitioner was sitting on their
 hands. The lawyer worked through the night on a habeas
 petition, and re-checked the “detainee locator” ten or so
 minutes before filing. See Greer Declaration ¶¶ 9–10.
 Per the Petitioner’s wife’s declaration:
             I was unable to sleep that night, first
             working with Amy [the lawyer] to secure
             immigration counsel for Mahmoud and then
             trying to find a way to make contact with
             him. The lawyers relayed to me that he
             seemed to be in Manhattan throughout the
             night, according to an ICE locator. By the
             early morning, they had filed a lawsuit in
             federal court, with my consent.
             Within a few hours and still in the early
             morning on Sunday, the locator showed
             Mahmoud as being held at an immigration
             detention facility in Elizabeth, New Jersey.
             I immediately went there, desperate to see
             my husband. I attempted to see him twice
             and was told by employees at the facility
             that he was not there, and that I would not
             be able to see him. I waited outside of the
             facility for approximately two hours and was
             never able to see or be in contact with
             Mahmoud.
 Abdalla Declaration ¶¶ 15–16.
 Based on the undisputed evidence here, the Court finds that, as
 of the time she filed the petition on March 9, the Petitioner’s
 lawyer had been affirmatively and persistently led to believe he
 was in Manhattan; 31 that she relied on that information; and that

 31 The record here does not provide any obvious reason to
 conclude that the information supplied by the arresting agent,
 or posted on the website, was provided in bad faith or with an
 intent to deceive. But no definitive findings are necessary on
 this point. This is because the application of the unknown
                                     49
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 50 of 67 PageID:
                                    821


 in spite of her best efforts there was no realistic way for her
 to know that the Petitioner was, in fact, in New Jersey when she
 filed the Petition.
 All of this leads, all but necessarily, to another finding: as
 of the time she filed the Petition, there was no real way for
 the Petitioner’s lawyer to know that, at that moment, the
 Petitioner’s immediate custodian was a New Jersey warden. After
 all, there was no way for her to know he was in New Jersey.

             2.   The Unknown Custodian Exception

 Situations like the above are rare. A lawyer for a person in
 custody can almost always name the detainee’s immediate
 custodian. But not always, and that is when the unknown
 custodian exception to the immediate custodian rule kicks in.
 Take it up here.
                                *    *      *
 The unknown custodian exception is often associated with Judge
 Bork, who issued a relevant in-chambers opinion in Demjanjuk v.
 Meese, 784 F.2d 1114 (D.C. Cir. 1986).
 In federal custody and soon to be extradited, the Demjanjuk
 petitioner applied for a habeas writ, but the United States
 declined to say where he was. See id. at 1115–16. What to do?
 How to satisfy the immediate custodian rule when there is no
 sense of where the detainee is (and therefore who his immediate
 custodian is)?
 In these circumstances, Judge Bork held that the habeas petition
 before him could be assessed on the merits. See id. at 1116.
 It was the more “[]practica[l]” solution, Judge Bork ruled. Id.
 This even though it was at odds with the district of confinement
 rule, of which more soon, because it was anyone’s guess whether
 the petitioner was in DC, where Judge Bork sat. And this even
 though it was at odds with the immediate custodian rule, for the
 same reason.
 Given that the immediate custodian was unknown, Judge Bork
 relaxed the immediate custodian rule --- and allowed the
 Attorney General to be named as the respondent on the habeas


 custodian exception, as discussed below, does not turn on the
 presence of such factors.
                                     50
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 51 of 67 PageID:
                                    822


 petition, on the theory that the Attorney General was the
 ultimate supervisor of the immediate custodian --- whoever that
 custodian might turn out to be. See id.
 That, in a nutshell, is what the unknown custodian exception
 does. It opens up an exception to the otherwise-applicable
 immediate custodian rule when, on the facts of a given case, the
 immediate custodian simply cannot be known.
                                *    *      *
 Is this rule the law of the land? The Supreme Court’s Padilla
 opinion suggests the answer is yes.
 In Padilla, Chief Justice Rehnquist wrote for five Justices.
 Two of those Justices, in a concurrence, proposed an exception
 to the immediate custodian rule. See 542 U.S. at 454 (Kennedy,
 J., concurring). The Chief Justice rejected this exception.
 “No exceptions to this rule, either recognized or proposed,
 apply here.” Id. at 435–36. The “proposed” exception was
 clearly the one offered up by the two concurring Justices ---
 the Chief Justice had cited it. See id. at 436.
 But what were the “recognized” exceptions? The Chief Justice’s
 opinion suggests two, and each laid out in footnote 18 of the
 Padilla opinion. That footnote reads in part:
             Demjanjuk v. Meese, 784 F.2d 1114
             (C.A.D.C.1986), on which the dissent relies,
             is similarly unhelpful: When, as in that
             case, a prisoner is held in an undisclosed
             location by an unknown custodian, it is
             impossible to apply the immediate custodian
             and district of confinement rules. That is
             not the case here, where the identity of the
             immediate custodian and the location of the
             appropriate district court are clear.
 542 U.S. at 450 n.18 (cleaned up).
 And at another point in the opinion, the Chief Justice explained
 that, on the facts of the Padilla case itself, “the identity of
 the immediate custodian” was not “shrouded . . . in secrecy.”
 Id. at 449 n.17.
 All of this suggests that the Padilla majority took Judge Bork’s
 unknown custodian exception as part of our law.


                                     51
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 52 of 67 PageID:
                                    823


 After all, as far as “proposed” and “recognized” exceptions
 went, the unknown custodian exception was on the “recognized”
 side of the line. And the Padilla Court took the exception as a
 given, with the facts of the case to be measured against it (was
 the immediate custodian “shrouded . . . in secrecy”?).
                                *    *      *
 The United States has generally taken the same basic approach.
 Where the issue has come up around the country, it has argued
 that the unknown custodian exception does not match the facts of
 a particular case. See Appellee’s Brief at 25, Remy v.
 Chadbourne, 184 F. App’x 79 (2d Cir. 2006) (No. 05-0602), 2006
 WL 6263982; Brief for John Ashcroft Attorney General of the
 United States at 33, Filsaime v. Ashcroft, 393 F.3d 315 (2d Cir.
 2004) (No. 03-2221), 2004 WL 3525390, at *33; Respondents’ Reply
 Memorandum in Support of Motion to Dismiss Improper Respondents
 at 6 n.3, Ali v. Obama, 741 F. Supp. 2d 18 (D.D.C. 2010) (No.
 10-1020), 2008 WL 8202651; Memorandum in Support of Motion to
 Dismiss, at 10, Baez v. INS, 2005 WL 3541030 (E.D. La. Oct. 25,
 2005) (No. 03-1568), 2003 WL 25713262.
 But it does not appear to have contended that the unknown
 custodian exception is in some sense itself incorrect as a
 matter of law.
                                *    *      *
 Lower court opinions have also treated the unknown custodian
 rule as a basic part of our law.
 In United States v. Moussaoui, 382 F.3d 453 (4th Cir. 2004), for
 example, a defendant sought access to a trial witness held in
 military custody via a writ of habeas corpus ad testificandum,
 but the immediate custodian was unknown. See id. at 465.
 No matter, the Fourth Circuit held. “[T]he immediate custodian
 [was] unknown. Under such circumstances, the writ is properly
 served on the prisoner’s ultimate custodian.” Id. (citing
 Demjanjuk, 784 F.2d at 1116).
 The “ultimate custodian” in Judge Bork’s case was the Attorney
 General who supervised all the federal prisons in which the
 habeas petitioner might have been held. See Demjanjuk, 784 F.2d
 at 1116. In Moussaoui, the “ultimate custodian” was the
 Secretary of Defense, who supervised all the Nation’s troops,



                                     52
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 53 of 67 PageID:
                                    824


 some of whom were said to be holding the witness.            382 F.3d at
 465.
 Moussaoui does not stand alone.
 In United States v. Paracha, 2006 WL 12768 (S.D.N.Y. Jan. 3,
 2006), aff’d, 313 F. App’x 347 (2d Cir. 2008), the court came to
 the same conclusion on virtually the same facts. Witnesses were
 said to be in the custody of the United States “in undisclosed
 locations abroad.” Id. at *5. Could a habeas writ issue for
 their testimony? Yes, the Court held, citing the unknown
 custodian exception: because “the immediate custodian is
 unknown, a writ may properly be served on the prisoner’s
 ultimate custodian.” Id. at *6 (citing Demjanjuk and
 Moussaoui). And so the writ went to the Secretary of Defense.
 See id.
 Another example. In Ali v. Ashcroft, 2002 WL 35650202 (W.D.
 Wash. Dec. 10, 2002), a habeas class action named the Attorney
 General as respondent. See id. at 3. What about the immediate
 custodian rule? Per the district court, this did not matter:
 “[a] nationwide habeas class with the Attorney General as
 respondent is appropriate when the location of the putative
 class members is unclear.” Id.
 In dicta, the lower federal courts have consistently embraced
 the unknown custodian exception to the immediate custodian rule.
 See, e.g., Vasquez, 233 F.3d at 696; Roman, 340 F.3d at 325;
 Aransevia v. McKelvy, 77 F. App’x 531 (D.C. Cir. 2003); Guerra
 v. Meese, 786 F.2d 414, 416 n.1 (D.C. Cir. 1986); Hamama v.
 Adducci, 2017 WL 2806144, at *2 (E.D. Mich. June 26, 2017);
 Heras-Quezada v. Terry, 2012 WL 13076586, at *2 (D.N.M. July 17,
 2012), report and recommendation adopted by 2012 WL 13076297
 (D.N.M. Sept. 10, 2012); Bailes v. Quinlan, 1988 WL 58914, at *1
 n.3 (D.D.C. May 20, 1988); cf. Blackmon v. England, 323 F. Supp.
 2d 1, 4 (D.D.C. 2004).
 And a standard treatise has put it this way: “The ‘immediate
 custodian’ rule . . . is inapplicable . . . where the prisoner’s
 current whereabouts are unknown.” Randy Hertz & James S.
 Liebman, 1 Federal Habeas Corpus Practice & Procedure § 10.1
 (7th ed. 2015); accord Brian R. Means, Federal Habeas Manual
 § 1:93 (2024) (“[W]here the immediate custodian is unknown, the
 writ may be served on the prisoner’s ultimate custodian.”).



                                     53
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 54 of 67 PageID:
                                    825


             3.   Applying the Unknown Custodian Exception

 The unknown custodian exception is an established part of
 federal law, see Part VII.B.2, and under it the immediate
 custodian rule can be set aside in “limited and special
 circumstances.” Demjanjuk, 784 F.2d at 1116.
 Which ones? When the identity of the immediate custodian is
 virtually unknowable.
 That was the case here.
 The Petitioner’s lawyer, the Court has found, was affirmatively
 led to believe that he was in New York --- and because no phone
 calls were allowed, the Petitioner could not undo the
 impression. See Part VII.B.1.
 What happens when the unknown custodian exception applies? The
 Petitioner is permitted to name not his immediate custodian, as
 is normally required, but his “ultimate” custodian. See
 Demjanjuk, 784 F.2d at 1116; Moussaoui, 382 F.3d at 465;
 Paracha, 2006 WL 12768, at *6.
 And that is what the Petitioner did here. His Petition, filed
 on March 9, named as a respondent the Secretary of the
 Department of Homeland Security. She is the ultimate supervisor
 of any possible warden of a New Jersey detention facility.
 All of this adds up the conclusion that the Respondents’ New
 Jersey–focused immediate custodian argument is not persuasive.
 The Petitioner did not name as a respondent his immediate New
 Jersey custodian. But he did not need to. That custodian was
 not only unknown to the Petitioner’s lawyer, but virtually
 unknowable to her. And so the Petition could clear the bar by
 doing what it did --- naming the Petitioner’s ultimate
 custodian, the Secretary of Homeland Security.
                                *    *      *
 Take now three points related to the above conclusion, each
 rooted in a comparison of this case to Demjanjuk.

                  a)    ”If Known”

 The first point: in some ways, this is an easier case for
 application of the unknown custodian exception than Demjanjuk --
 - given where this case is procedurally and where that one was.


                                     54
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 55 of 67 PageID:
                                    826


 To see the point, note that a federal habeas court exercises a
 package of powers. The “power to entertain a prisoner’s request
 that the court direct a habeas writ to a custodian” is one of
 these powers. Lee Kovarsky, A Constitutional Theory of Habeas
 Power, 99 Va. L. Rev. 753, 757 (2013). Another power typically
 comes into play later, the “power to issue a habeas writ
 instructing a custodian to produce the body and justify
 detention.” Id.; see also id. at 763-65 (describing habeas
 procedure at common law); Halliday, Habeas Corpus: From England
 to Empire at 39-63 (setting out, historically, the set of
 procedures that were bundled together in order “to produce the
 body”).
 Judge Bork used the unknown custodian rule through to the end of
 the case --- at the merits stage.
 But this case is at a much earlier point. All that is in play
 for now is the table-setting question, the Court’s “power to
 entertain a prisoner’s request that the court direct a habeas
 writ to a custodian.” Kovarsky, A Constitutional Theory of
 Habeas Power, 99 Va. L. Rev. at 757.
 And at this earlier point in the litigation, there is more
 flexibility in terms of a petitioner naming the correct
 custodian.
 The habeas statute, for example, is cleaved in two.
 Section 2243 covers the later stages of a habeas case, on
 merits/remedy. See 28 U.S.C. § 2243. Section 2242 covers the
 earliest stage --- what is essentially the pleading stage, where
 this case is now.
 In turn, Section 2242 is more forgiving when it comes to naming
 precisely the right custodian. See 28 U.S.C. § 2242 (indicating
 that a habeas petition “shall allege . . . the name of the
 person who has custody over [the petitioner] . . . if known”)
 (emphasis added); see also Nguyen v. Kissinger, 528 F.2d 1194,
 1204 n.17 (9th Cir. 1975) (the section “requires the naming of
 the custodian ‘if known,’ seemingly contemplating the power of
 the district court to develop the fact if unknown”). Section
 2243, which kicks in later, has no “if known” carve-out.
 Judge Bork, as noted, applied the unknown custodian exception
 through to what was the last stage of the habeas proceeding. He
 ruled on the merits of the habeas petition before him, see



                                     55
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 56 of 67 PageID:
                                    827


 Demjanjuk, 784 F.2d at 1116–18, but even at that point no
 immediate custodian had been named.
 It is a lighter lift than that to apply the unknown custodian
 exception to this case now --- at the beginning of the habeas
 process, when Congress has suggested (through the “if known”
 language) something of a different approach to unknown custodian
 issues. Cf. Armentero v. INS, 340 F.3d 1058, 1068 (9th Cir.
 2003), reh’g granted, opinion withdrawn, 382 F.3d 1153 (9th Cir.
 2004), opinion after grant of reh’g, 412 F.3d 1088 (9th Cir.
 2005) (“[W]hile a petitioner’s immediate physical custodian is
 typically a proper respondent . . . the statutory custodian
 requirement of 28 U.S.C. § 2241 is sufficiently flexible to
 permit the naming of respondents who are not immediate physical
 custodians if practicality, efficiency, and the interests of
 justice so demand.”). 32

                  b)    The District of Confinement Rule

 Turn now to another reason why it is more straightforward to
 apply the unknown custodian exception in this case than in
 Demjanjuk.
 To see the point, first take a step back.
                                *    *      *
 The law often channels cases to particular courts based on
 fixed-in-advance criteria, like where an event took place or
 where a defendant lives. See Daimler AG v. Bauman, 571 U.S.
 117, 128 (2014); Atl. Marine Constr. Co. v. U.S. Dist. Ct. for
 the W. Dist. of Tex., 571 U.S. 49, 55-56 (2013). Applying pre-
 baked rules of this sort has a number of effects, including
 paring back possible forum-shopping.



 32 At a later stage in the proceedings here, would the unknown
 custodian exception continue to excuse not naming the New Jersey
 warden who apparently held the Petitioner as of March 9? That
 question is for later. But it also may never come up. The
 Petitioner has sought permission to amend the Petition, see
 Opposition Brief at n.1, to add appropriate respondents now that
 the dust has settled, and it is clear where the Petitioner was
 on March 9 at 4:40am. That request is hereby granted, and the
 Petition may be amended to add additional respondents, provided
 the amended petition is filed before 5:00pm on April 3.
                                     56
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 57 of 67 PageID:
                                    828


 Habeas law is no exception. It too has rules that send certain
 cases to certain courts. And limiting forum-shopping is also a
 key purpose of those rules.
 The rules are reflected in Congress’ 1867 amendments to the
 habeas statute, under which the district courts have power to
 grant habeas writs --- but only “within their respective
 jurisdictions.” 28 U.S.C. § 2241(a).
 Congress, per the Supreme Court, “thought [it] inconvenient,
 potentially embarrassing, certainly expensive and on the whole
 quite unnecessary to provide every judge anywhere with authority
 to issue the Great Writ on behalf of applicants far distantly
 removed from the courts whereon they sat.” Carbo v. United
 States, 364 U.S. 611, 617 (1961).
 Judicial practice reflects this same concern, and courts have
 long held that a habeas writ cannot typically issue as to a
 person in custody outside the borders of the district in which
 the habeas court sits. See, e.g., United States ex rel.
 Harrington v. Schlotfeldt, 136 F.2d 935, 940 (7th Cir. 1943);
 United States ex rel. Belardi v. Day, 50 F.2d 816, 817 (3d Cir.
 1931); In re Boles, 48 F. 75, 75–76 (8th Cir. 1891); Ex parte
 Yee Hick Ho, 33 F.2d 360, 361 (N.D. Cal. 1929); Ex parte Gouyet,
 175 F. 230, 233 (D. Mont. 1909); see also Carbo, 364 U.S. at 616
 (describing an unreported decision in which Chief Justice Chase,
 riding circuit, “reject[ed] an application for the Great Writ
 from a prisoner on the ground that he was incarcerated outside
 his circuit”). 33


 33 This may sometimes have been the approach in pre-1867 cases,
 too. See, e.g., In re Bickley, 3 F. Cas. 332, 333 (S.D.N.Y.
 1865) (No. 1,387) (discussing “actual confinement” of the
 prisoner in the court’s district). As to a possible reason why,
 note that the 1867 amendments’ reference to habeas courts’
 “respective jurisdiction” is often taken to mean the district
 courts’ territorial jurisdiction. See Padilla, 542 U.S. at 442-
 44; see also, e.g., Ex parte Kenyon, 14 F. Cas. 353, 354
 (C.C.W.D. Ark. 1878) (No. 7,720). But that may not have added
 quite so much. Especially in the pre-“long arm” era,
 territorial limits on the jurisdiction of the federal courts
 were often thought to already exist, flowing from the fact that
 Congress in 1789 had opted to divide the Nation into distinct
 territorial districts. (For an example of this approach, see
 Justice Washington’s opinion in Ex parte Graham, 10 F. Cas. 911
 (C.C.E.D. Pa. 1818) (No. 5,657).) On this understanding,
                                     57
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 58 of 67 PageID:
                                    829


 In the mid-20th century, the Supreme Court began to refer to
 this approach in shorthand --- as the “district of confinement
 rule.” See Ahrens, 335 U.S. at 210 (Rutledge, J., dissenting)
 (using the term “district of confinement”); Carbo, 364 U.S. at
 618 (same); Braden, 410 U.S. at 499 n.15 (same); see generally
 Padilla, 542 U.S. at 442 (“[T]he traditional rule has always
 been that the Great Writ is issuable only in the district of
 confinement.”) (cleaned up).
 The district of confinement rule is this: “for . . . habeas
 petitions challenging present physical confinement, jurisdiction
 lies in only one district: the district of confinement.”
 Padilla, 542 U.S. at 443 (emphasis added).
 But this line can be hard to hold.
 Habeas is a remedy that runs to a detainee’s custodian, on the
 theory that it is the custodian who can release the detainee if
 ordered to do so by a court. See, e.g., id. at 435; Braden, 410
 U.S. at 494–95; Wales v. Whitney, 114 U.S. 564, 574 (1885); see
 also 28 U.S.C. § 2243.
 And that can fold complexity into the mix.
 Sometimes, for example, a person might be detained in district A
 while his custodian is in both district A and district B. This
 may be the case when the custodian is physically in district A
 but exercises power in both district A and district B. Does
 this mean that the case can go forward in both the district of
 confinement (A) and also in one of the districts where the
 custodian is located (B)? Does the background district of
 confinement rule get overridden or softened? 34
 Or take another example.
 Think of a federal criminal prisoner, held in a prison in
 district A under the authority of the Attorney General, as in
 some sense all or virtually all federal criminal prisoners are.
 Can her habeas case go forward only in district A (because that

 territorial limits on jurisdiction in habeas cases may have been
 taken as the background assumption --- confirmed and made more
 explicit in the 1867 statutory amendment, but not newly
 established by it.
 34 The Third Circuit has suggested that the answer is no, the
 action goes forward only in A. See Day, 50 F.2d at 817–18.

                                     58
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 59 of 67 PageID:
                                    830


 is her “district of confinement”), or can it go forward in any
 of the country’s 94 judicial districts that she picks? (The
 theory for going forward in any of the 94 districts would be
 that the Attorney General is legally present in each district,
 cf. Fed. R. Civ. P. 4(i)(2), and that, if ordered to do so by
 any district court, the Attorney General can as a practical
 matter direct the release of a person confined in district A. 35)
                                *    *      *
 All of this points to habeas law’s core challenge in this area:
 to prevent the district of confinement rule (habeas cases
 generally go forward only in the district where the petitioner
 is held) from being undermined by the fact that habeas cases
 must always run against a custodian (who may well be somewhere
 else, outside the district of confinement).
 A critical part of the Supreme Court’s approach to this issue
 has been to adopt the immediate custodian rule.
 That rule tells habeas petitioners to name nearby officials
 (like the warden of a detention facility, see Padilla, 542 U.S.
 at 435, Yi v. Maugans, 24 F.3d 500, 507 (3d Cir. 1994)), and not
 far-off supervisors (like the warden’s boss in another state or
 back in Washington).
             In habeas challenges to present physical
             confinement, . . . the district of
             confinement is synonymous with the district


 35 If a habeas case can go forward anywhere a petitioner
 chooses, the forum-shopping would become severe. Per Judge
 Easterbrook:

             National venue would mean that one
             idiosyncratic district or appellate court
             anywhere in the nation could insist that the
             entire federal government dance to its tune.
             Requiring prisoners to litigate where they
             are confined . . . not only distributes
             business among the district courts and
             circuits but also allows important issues to
             percolate through multiple circuits before
             the Supreme Court must review a disputed
             question.

 al-Marri, 360 F.3d at 710.
                                     59
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 60 of 67 PageID:
                                    831


             court that has territorial jurisdiction over
             the proper respondent. This is because
             . . . the immediate custodian rule
             applies . . . . By definition, the
             immediate custodian and the prisoner reside
             in the same district.
 Padilla, 542 U.S. at 444 (cleaned up).
             Whenever a § 2241 habeas petitioner seeks to
             challenge his present physical custody
             within the United States, he should name his
             warden as respondent and file the petition
             in the district of confinement.
             This rule, derived from the terms of the
             habeas statute, serves the important purpose
             of preventing forum shopping by habeas
             petitioners. Without it, a prisoner could
             name a high-level supervisory official as
             respondent and then sue that person wherever
             he is amenable to long-arm jurisdiction.
             The result would be rampant forum shopping,
             district courts with overlapping
             jurisdiction, and the very inconvenience,
             expense, and embarrassment Congress sought
             to avoid when it added the jurisdictional
             limitation 137 years ago.
 Id. at 447 (cleaned up).
 The immediate custodian rule, in short, checks all the boxes.
 It tells habeas petitioners who to sue: the immediate custodian.
 And zeroing in on the immediate custodian prevents any possible
 end-run around the district of confinement rule --- because an
 immediate custodian is always in the same district where the
 petitioner is confined.
 Put differently, the immediate custodian rule eases the possible
 tension between (1) the overarching district of confinement rule
 and (2) the idea that all habeas petitions must name a
 custodian.
 The reason is that, under the immediate custodian rule, these
 two always point in the same direction. Why? Because the
 district of confinement rule focuses on where a habeas

                                     60
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 61 of 67 PageID:
                                    832


 petitioner is. And the immediate custodian rule focuses on a
 custodian who is always with the petitioner. A person in
 custody and his immediate custodian are, “[b]y definition,” id.
 at 444, always in the same place.
                                *    *      *
 Against the backdrop set out above, come back to Demjanjuk and
 then to this case.
 In Demjanjuk, Judge Bork relaxed the immediate custodian rule
 because the custodian was unknown. See Part VII.B.2.
 But doing so in that case was an especially large leap. This
 was because in Demjanjuk, relaxing the immediate custodian rule
 (via the unknown custodian exception) potentially threatened to
 undermine one of the key reasons the immediate custodian rule is
 there in the first place --- to prevent habeas petitions from
 going forward in a place that is not the district of
 confinement.
 After all, the Demjanjuk petition was filed before Judge Bork in
 Washington, DC. But the Demjanjuk petitioner may not have been
 confined there. Where he was being held was unknown to the
 court. See Demjanjuk, 784 F.2d at 1115–16. He could just as
 easily have been in custody in Texas or Michigan or Maine. Any
 federal judge in America might have been asked to use the
 unknown custodian exception and get to the merits, just as Judge
 Bork was asked to (and did). Cf. id. at 1116 (“[i]t is
 impracticable to require the attorneys to file in every
 jurisdiction”).
                                *    *      *
 But this case poses none of these issues.
 This case, as filed on March 9 at 4:40am, can go forward in New
 Jersey because that is where the Petitioner was confined at that
 moment. See Part VII.B.1. And because New Jersey was the
 district of confinement then, this case can go forward only in
 New Jersey, unless it is now dismissed and re-filed elsewhere.
 See Padilla, 542 U.S. at 443 (“[F]or . . . habeas petitions
 challenging present physical confinement, jurisdiction lies in
 only one district: the district of confinement.”) (emphasis
 added).
 This means that relaxing the immediate custodian rule here ---
 because as of the time of filing on March 9 the Petitioner’s

                                     61
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 62 of 67 PageID:
                                    833


 lawyer could not know that the Petitioner was in New Jersey ---
 does not open the door to forum-shopping. The case as filed can
 go forward only here. The other 93 districts, where the
 Petitioner was nowhere to be found, are out of the question.
 Indeed, relaxing the immediate custodian rule here has precisely
 the opposite effect of forum-shopping.
 It opens the way to this case continuing in the district that
 was the single district of confinement at the moment the
 Petition was filed. The unknown custodian exception does this
 by removing an impediment to this case going forward in New
 Jersey, the district of confinement (the impediment being the
 contention that the immediate custodian rule was violated
 because no New Jersey custodian was timely named as a
 respondent).
                                *    *      *
 To put the point in a different way:
 Per the Supreme Court, the immediate custodian rule exists in
 part to protect the district of confinement rule.
 If the unknown custodian exception to the immediate custodian
 rule makes sense even where (as in Demjanjuk) it seems to
 undermine the district of confinement rule, then there is an
 all-the-stronger case for applying the unknown custodian
 exception here.
 Why? Because applying the unknown custodian exception in this
 case actively advances the district of confinement rule.
 Applying the exception here helps ensure that this case goes
 forward in the district of confinement, New Jersey, where the
 Petitioner was held when the Petition was filed.
 If the unknown custodian exception can apply (as in Demjanjuk)
 even in the teeth of the district of confinement rule --- why
 not apply it where, as here, it is the way to make that rule
 stick?

                  c)    Conclusion

 The unknown custodian exception applies here. See Part VII.B.3.
 And in two important ways it makes more sense to apply the
 exception in this case than it did in Demjanjuk. See
 Parts VII.B.3.a–b.


                                     62
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 63 of 67 PageID:
                                    834


 In another sense, though, Demjanjuk was a stronger and easier
 case for application of the unknown custodian exception.
 That is the subject of this section.
                                *    *      *
 Per the Supreme Court, courts must apply the habeas statute with
 an eye to the underlying equitable nature of the writ. See
 Brown v. Davenport, 596 U.S. 118, 132 (2022); Holland v.
 Florida, 560 U.S. 631, 646 (2010); Boumediene v. Bush, 553 U.S.
 723, 780 (2008); Munaf v. Green, 553 U.S. 674, 693 (2008);
 Schlup v. Delo, 513 U.S. 298, 319 (1995).
 And it appeared in Demjanjuk that, if the unknown custodian
 exception were not brought to bear, no habeas petition could
 have been heard anywhere in the United States (save, perhaps, by
 a Supreme Court Justice). After all, the location of the
 petitioner was being kept confidential. See Part VII.B.3. No
 proper custodian could be named anywhere because no custodian
 could be named --- and this would have been as much a problem
 for a habeas petition filed in DC, where the case was brought,
 as it would have been anywhere else.
 From an equitable perspective, this suggests that Demjanjuk was
 a more persuasive case for application of the unknown custodian
 exception. Without that exception, the Demjanjuk case could not
 go forward anywhere. But this case, without the exception, can
 simply be dismissed and refiled in Louisiana. 36


 36 The equities, as referenced here, have nothing to do with the
 merits. Not in this case --- the Court expresses no view on the
 case’s merits. And not in Demjanjuk --- where Judge Bork was
 convinced that the petition before him was plainly not
 persuasive on the merits. See 784 F.2d at 1116-17. (To be
 sure, there may be a way in which habeas law and Judge Bork’s
 view of the merits came together in Demjanjuk. The habeas
 petition came to Judge Bork in the first instance, and he was a
 circuit judge. He decided that it was not worth the time to
 remand the case to a district court, see id. at 1115, as would
 typically be done under Federal Rule of Appellate
 Procedure 22(a), because the case was plainly doomed on the
 merits. See id. The case being in a circuit court, and not a
 district court, meant no real possibility of fact-finding,
 whereas a district judge could presumably have considered
                                     63
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 64 of 67 PageID:
                                    835


                                *    *      *
 To unpack the point a bit more, in Demjanjuk the unknown
 custodian exception was the last resort. It was applied, and
 the case was considered. But if the exception was not applied,
 there would have been no way for the petitioner to seek habeas
 relief --- not in Washington, DC, (where no custodian was named)
 and not anywhere else (where there would have been the same
 problem). Without leaning on the unknown custodian exception,
 there could have been no habeas remedy anywhere. 37
 Here, things are different. If the unknown custodian rule is
 not applied here, this case might arguably need to be dismissed.
 But if so, a habeas petition can still be presented. The
 Petitioner is now detained in Louisiana, and he can presumably
 refile a habeas petition there.
 In that sense --- and it is plainly an important one --- this
 case is a less compelling one for application of the unknown
 custodian exception than Demjanjuk was.
                                *    *      *
 That point moves the needle, but not far enough. And on balance
 the Court’s judgment remains the same: that the unknown
 custodian exception applies here.
 First, the exception applies on its face, see Part VII.B.3, and,
 while it is associated with Demjanjuk, the exception is bigger
 than just that case. See VII.B.2. Second, applying the
 exception here is generally consistent with the habeas statute.


 allowing for some tightly-limited discovery to identify a
 custodian. See, e.g., Maqaleh v. Hagel, 738 F.3d 312, 325-26
 (D.C. Cir. 2013), vacated in part on unrelated grounds sub nom.
 al-Najar v. Carter, 575 U.S. 908 (2015) (describing
 jurisdictional discovery in the habeas context). The lack of a
 named custodian --- an issue addressed in Demjanjuk through the
 unknown custodian exception --- might conceivably have been
 handled in a narrower way, and in a factual way rather than a
 legal way, if Judge Bork had viewed the petition as even
 potentially having merit, such that a remand to the district
 court could have made sense.)
 37 And in such a circumstance, there might be an argument that
 applying the unknown custodian exception is constitutionally
 required, by the Suspension Clause. Cf. Roman, 340 F.3d at 325.
                                     64
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 65 of 67 PageID:
                                    836


 See Part VII.B.3.a. And third, on the facts of this particular
 case, the unknown custodian exception vindicates the district of
 confinement rule, and in that sense protects against forum-
 shopping. See Part VII.B.3.b.
 All that weighs heavily.
 Moreover, applying the unknown custodian exception in this case
 is in the interest of the equitable concerns that the Supreme
 Court has long invoked in habeas law.
 If the unknown custodian exception does not apply here, and this
 case is therefore dismissed, it is true that the Petition can be
 refiled in another federal court.
 But it is also true that if the exception does not apply, and
 the case is dismissed on that basis, then the implication would
 be that there can be a period of time during which a person can
 be arrested in the United States and then moved by federal
 officials, during which period no habeas court would have the
 power to hear him out --- even though, as here, his lawyers and
 family cannot determine where he is only because they have been
 given inaccurate information about his whereabouts, and because
 he has not been allowed to correct that information by making a
 phone call.
 A detainee in that situation would not be able to file a habeas
 petition in his original place of confinement, because he is no
 longer there. See Khalil, 2025 WL 849803, at *14 (so holding).
 And without the benefit of the unknown custodian exception, he
 might well not be able to file a habeas petition in the place
 where he was moved --- because when he filed in the first
 location he did not name his second custodian (who was then
 unknown).
 Looking back from the perspective of today, April 1, that may
 not seem like very much. The Petitioner is now in Louisiana.
 He can file a habeas petition from there.
 But that is not the only perspective.
 The implication of not applying the unknown custodian exception
 here is that, as of March 9, the Petitioner, detained in the
 United States, would not have been able to call on any habeas
 court. Not in Louisiana, New York, or New Jersey. And not
 anywhere else, either.


                                     65
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 66 of 67 PageID:
                                    837


 That is too far. Our tradition is that there is no gap in the
 fabric of habeas --- no place, no moment, where a person held in
 custody in the United States cannot call on a court to hear his
 case and decide it. See, e.g., 3 William Blackstone,
 Commentaries *131 (“[T]he sovereign is at all times entitled to
 have an account, why the liberty of any of her subjects is
 restrained, wherever that restraint may be inflicted.”); accord,
 e.g., Boumediene, 553 U.S. at 741; 2 Joseph Story, Commentaries
 on the Constitution of the United States § 1341, p. 237 (3d ed.
 1858).

 VIII.       Conclusion and Next Steps

 The Court’s conclusion: it has jurisdiction over this case and
 the Respondents’ motion to dismiss must therefore be denied.
                                *    *      *
 Recall for a moment the basis for this conclusion.
 A habeas court generally has jurisdiction (1) where the habeas
 petitioner is physically in the court’s district when (2) he
 files his habeas petition. See Part II.
 Here, each box is checked. The Petitioner was in New Jersey on
 March 9 at 4:40am. And Congress has required that the Petition
 must be taken as having been filed in New Jersey at that same
 moment. See Part IV.
 That vested this Court with jurisdiction.
 The Court’s jurisdiction is not defeated by the Petitioner
 having been moved to Louisiana. See Part VI.
 And the Court’s jurisdiction is not undone, either, by the
 Petition not having named either a Louisiana or New Jersey
 warden. See Part VII.
                                *    *      *
 Before concluding, note that this case is postured in an unusual
 way. But in rare circumstances, other courts have dealt with a
 case that, in some ways, has similar facts to this one.
 In such cases, a habeas petition is filed in Place 1 while the
 petitioner is actually in Place 2; and by the time a court sends
 the case to a court in Place 2, the petitioner has been moved to
 Place 3.


                                     66
Case 2:25-cv-01963-MEF-MAH   Document 153   Filed 04/01/25   Page 67 of 67 PageID:
                                    838
